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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION

 WILDSEED MOBILE LLC,                                Case No. 6:22-cv-00357

                        Plaintiff,
                                                     Jury Trial Demanded
          v.

 GOOGLE LLC and
 YOUTUBE, LLC.

                        Defendant.


                       COMPLAINT FOR PATENT INFRINGEMENT
         Plaintiff Wildseed Mobile LLC (“Wildseed Mobile” or “Plaintiff”), by its attorneys,

demands a trial by jury on all issues so triable and for its Complaint against Google LLC

(“Google”) and YouTube, LLC (“YouTube”) (collectively, “Defendants”) alleges the following:

                                     NATURE OF THE ACTION

         1.     This action arises under 35 U.S.C. § 271 for Defendants’ infringement of Wildseed

Mobile’s United States Patent Nos. 7,376,414 (the “’414 patent”), 9,141,960 (the “’960 patent”),

10,251,021 (the “’021 patent”), 10,959,040 (the “’040 patent”) and 10,869,169 (the “’169 patent”)

(collectively, the “Asserted Patents”).

                                          THE PARTIES

         2.     Plaintiff Wildseed Mobile LLC is a domestic limited-liability company organized

under the laws of the State of Texas with a place of business at 510 Austin Avenue, Waco, TX

76701.

         3.     Google is a limited liability company organized under the laws of the State of

Delaware with its headquarters at 1600 Amphitheater Parkway, Mountain View, California 94043.

Google maintains regular and established places of business in this District, including offices at




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500 W 2nd St., Suite 2900, Austin, TX 78701 and 110 East Houston Street, # 300, San Antonio,

TX 78205. Google can be served through its registered agent for service at CSC - Lawyers

Incorporating Service California 2710 Gateway Oaks Drive Ste 150N, Sacramento, California

95833.

         4.         Google does business in this District and across the State of Texas. It has over

1,700 full-time employees in Texas. On information and belief, they are located predominantly

in this District.

         5.         YouTube is a limited liability company organized under the laws of Delaware with

its headquarters at 901 Cherry Avenue, San Bruno, California 94066. YouTube may be served

with process through its registered agent, the Corporation Service Company, with an address of

2710 Gateway Oaks Drive, Suite 150N, Sacramento, California 95833. YouTube is wholly

owned by Google.

                                    JURISDICTION AND VENUE

         6.         This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. §§ 1331 and 1338(a).

         7.         Jurisdiction and venue for this action are proper in the Western District of Texas.

         8.         This Court has personal jurisdiction over Defendants because Defendants have

purposefully availed themselves of the rights and benefits of the laws of this State and this Judicial

District.     Defendants reside in the Western District of Texas by maintaining regular and

established places of business at 500 W 2nd St., Austin, TX 78701 and 110 East Houston Street,

# 300, San Antonio, TX 78205.

         9.         This Court also has personal jurisdiction over Defendants because they have done

and are doing substantial business in this Judicial District, both generally and with respect to the




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allegations in this Complaint, including Defendants’ one or more acts of infringement in this

Judicial District.

        10.     Venue is proper in this Judicial District under 28 U.S.C. §§ 1391(b) and (c) and §

1400(b). Defendants have committed acts of infringement through, for example, making, using,

offering for sale and selling Defendants’ products and/or services, including delivering

advertisements and the YouTube website, in the Western District of Texas and have regular and

established places of business in this District.

        11.     The offices at 500 W 2nd St., Austin, TX 78701 and 110 East Houston Street, #

300, San Antonio, TX 78205 are physical places in the District where thousands of Google

employees work. They are established locations where Defendants’ business has been carried out

for several years, and Defendants publicly advertise their presence in the District.

        12.     On information and belief, YouTube employees work in this District at the

physical locations where Google employees also work and/or some of YouTube’s employees

reside and work at their residences in this District. Examples of such employees are included in

Exhibits 1 – 15, 54 – 67.

        13.     Further, YouTube is a wholly owned subsidiary of Google and, as explained in

greater detail below, Google acts as YouTube’s agent in this District in furtherance of its business

with respect to the acts constituting their joint and several infringement in this case. YouTube

has the right, among other things, to direct or control Google’s actions with respect to various

aspects of YouTube’s business. Similarly, as discussed in further detail below, YouTube has

consented that Google act on YouTube’s behalf, and Google has consented to act on YouTube’s

behalf as to the conduct forming the basis of these defendants’ joint and several infringement in

this case.




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          14.    YouTube’s Terms of Service contain a section entitled “Your Service Provider,”

wherein YouTube states, with respect to YouTube’s services, that “[t]he entity providing the

Service is Google LLC.” Ex. 16 at 3 (YouTube’s Terms of Service, “Your Service Provider”,

available at https://www.youtube.com/static?template=terms) (emphasis added).               YouTube

exercises direction and control over Google and its personnel upon information and belief in this

district with respect to the provision of the YouTube service by Google. Google acts as

YouTube’s agent in delivering YouTube’s services to its customers in this District.

          15.    As YouTube’s agent, Google provides, for example, parental assistance to assist

parents in supervising the use of YouTube’s services by children.

          If you are a parent or legal guardian of a user under the age of 18, by allowing your
          child to use the Service, you are subject to the terms of this Agreement and
          responsible for your child’s activity on the Service. You can find tools and
          resources to help you manage your family’s experience on YouTube (including
          how to enable a child under the age of 13 to use the Service and YouTube Kids) in
          our Help Center and through Google’s Family Link.

Id. at 4 (YouTube’s Terms of Service, “Permission by Parent or Guardian”) (emphasis added).

          16.    YouTube’s Terms of Service further state that many of YouTube’s services can

only be used if the customer has a Google account. Google acts as YouTube’s agent with respect

to the use and delivery of these services.

          Google Accounts and YouTube Channels

          You can use parts of the Service, such as browsing and searching for
          Content, without having a Google account. However, you do need a Google
          account to use some features. With a Google account, you may be able to like
          videos, subscribe to channels, create your own YouTube channel, and more. You
          can follow these instructions to create a Google account.

Id. at 5 (YouTube’s Terms of Service, “Google Accounts and YouTube Channels”) (emphasis

added).

          17.    YouTube provides payments to content providers, for example through the

YouTube partner program, based on the uploading of content to YouTube for viewing by its


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customers. YouTube’s Terms of Service state that Google, not YouTube, may withhold taxes

from any payments by YouTube to its content providers.

       Right to Monetize

       You grant to YouTube the right to monetize your Content on the Service (and such
       monetization may include displaying ads on or within Content or charging users a
       fee for access). This Agreement does not entitle you to any payments. Starting
       November 18, 2020, any payments you may be entitled to receive from YouTube
       under any other agreement between you and YouTube (including for example
       payments under the YouTube Partner Program, Channel memberships or Super
       Chat) will be treated as royalties. If required by law, Google will withhold taxes
       from such payments.

Id. at 11 (YouTube’s Terms of Service, “Right to Monetize”) (emphasis added). Google thus

acts as YouTube’s agent.

       18.     YouTube may impose restrictions on a channel for violating its YouTube

Community Guidelines. Attempting to circumvent such restrictions is a violation of YouTube’s

Terms of Service. Id. at 12. (YouTube’s Terms of Service, “Community Guidelines Strikes”).

As a consequence of any such violation, Google, as YouTube’s agent, can terminate the Google

account of the YouTube user and terminate the user’s access to YouTube (i.e., “the Service”) on

behalf of YouTube.

       If your channel has been restricted due to a strike, you must not use another channel
       to circumvent these restrictions. Violation of this prohibition is a material breach
       of this Agreement and Google reserves the right to terminate your Google
       account or your access to all or part of the Service.

Id. (YouTube’s Terms of Service, “Community Guidelines Strikes”) (emphasis added).

       19.     YouTube’s Terms of Service also state that YouTube can suspend or terminate the

YouTube user’s account at its agent, Google, for various reasons. Id. at 13 (YouTube’s Terms of

Service, “Terminations and Suspensions by YouTube”) (“YouTube reserves the right to suspend

or terminate your Google account or your access to all or part of the Service if (a) you materially

or repeatedly breach this Agreement; (b) we are required to do so to comply with a legal



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requirement or a court order; or (c) we reasonably believe that there has been conduct that creates

(or could create) liability or harm to any user, other third party, YouTube or our Affiliates.”)

(emphasis added).

       20.     As YouTube’s agent, Google has physical places of business and employees in

this District, including at least 500 W 2nd St., Austin, TX 78701 and 110 East Houston Street, #

300, San Antonio, TX 78205.

       21.     Google further acts as YouTube’s agent with regard to advertising, which is a main

source of revenue central to YouTube’s business. Google Ads runs an advertising network and

serves ads that appear in YouTube web pages and content, including video ads that advertisers

wish to display on YouTube.




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Ex. 17 (available at https://support.google.com/google-ads/answer/2375464).

       22.    Any business or person who advertises on YouTube must advertise through

Google Ads. Google thus acts as an agent on behalf of YouTube. YouTube generates substantial

revenue through the display of these ads to users of YouTube’s services.




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Ex. 18 (available at https://www.youtube.com/intl/en_us/ads/faqs/).

       23.     Google obtains advertisements from advertisers, selects advertisements for ad

auctions, runs ad auctions, selects winning advertisements, and bills advertisers, including

for advertisements on YouTube.




Ex. 19 (available at https://ads.google.com/home/faq/).




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Ex. 20 (available at https://support.google.com/google-

ads/answer/2996564?hl=en&ref_topic=10289453).

       24.      On information and belief, Google and YouTube have a contractual relationship

whereby Google acts as YouTube’s agent for advertising services. On information and belief,

YouTube’s primary source of revenue is advertising revenue and the vast majority of YouTube’s

advertising revenue is advertising revenue from Google Ads.          On information and belief,

YouTube relies on Google Ads for advertising revenue; and YouTube does not have its own

advertising network.

       25.      Google and YouTube regularly conduct business in this district by sending data to,

and receiving data from, YouTube end users via Google network infrastructure located in this

district. Google provides networking infrastructure and communication for YouTube. All of

YouTube’s peering internet traffic has flowed through Google’s network infrastructure since end

of year 2009.




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Ex. 21 (available at https://www.peeringdb.com/net/762). (emphasis added)

       26.    Google servers provide YouTube video advertising and other content over the

Internet to YouTube’s users. For example, the video content and video advertisements shown in

the screen shots of YouTube below came from the server “gvs 1.0” at “googlevideo.com”. On

information and belief, “gvs” is an acronym for Google Video Server.




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Ex. 22 (screenshot of Chrome browser and Chrome DevTools playing

https://www.youtube.com/c/TheWacoDudes/featured).




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Ex. 23 (screenshot of Chrome browser and Chrome DevTools playing YouTube video

advertisement).

       27.     On information and belief, Google and YouTube have a contractual relationship

whereby Google acts as YouTube’s agent for network services. On information and belief,

YouTube relies on Google for networking services and to provide advertising and video content

to YouTube users.

       28.     Defendants cache content at a Google Global Cache (“GGC”) servers located in

this District. Internet Service Providers’ locations that house defendants’ GGC are Google’s and

YouTube’s regular and established places of business in this district. Internet Service Providers

in this District that house defendants’ GGC are agents of Google and YouTube. Google and

YouTube have the right to direct or control the Internet Service Providers’ actions. Google and

YouTube have consented that the Internet Service Providers that house defendants’ GGC shall

act on Google and YouTube’s behalf, and the Internet Service Providers that house defendants’

GGC have consented to act on behalf of Google and YouTube.

       29.     YouTube delivers video, including “YouTube HD Verified” video, through GGC

servers located in AT&T’s, Charter’s, and other Internet Service Providers’ (ISPs) physical

locations in Waco, TX.




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Ex. 24 (available at https://www.google.com/get/videoqualityreport/#).

       30.     AT&T, Charter, and other ISPs in this District entered into a contract with Google

to join Google’s GGC program. Google states that, “[o]nce registered and qualified by Google,

we will send you a simple agreement for joining the GGC program. After you have electronically

signed this agreement, Google will ship you servers that you install in your facility and attach to

your network. Google will work with you to configure the servers and bring them into service.”

Ex. 25 (https://peering.google.com/#/options/google-global-cache).

       31.     YouTube and Google regularly conduct business in this District by working with

ISPs located in this District to communicate with YouTube end users using GGC servers and

peering connections at ISP locations in this District. Google acts as YouTube’s agent. Google

regularly “work[s] with network operators to exchange traffic efficiently and cost-effectively”

using peering connections and GGC servers. Google directs or controls ISP’s actions. “Google

works directly with network operators to implement and operate Google Global Cache nodes.”



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As another example, Google instructs ISPs to provide “occasional smart-hands support” for GGCs

and “set the maximum egress bandwidth for each node deployed” at installation and “[a]fter

activation.” As another example, Google instructs certain ISPs to take action every week (“…

update these filters weekly”) and “peer with us directly.”




Ex. 26 (available at https://peering.google.com/#/infrastructure) (emphasis added).




Ex. 27 (available at https://peering.google.com/#/options/peering).




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…




…




…




Ex. 28 (available at https://peering.google.com/#/learn-more/faq).




Ex. 29 (available at https://peering.google.com/#/options/google-global-cache).




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       32.         YouTube causes ISPs located in this District to cache YouTube content in, and

serve YouTube content from, the GGC servers located in ISP facilities in this District, based on

the content requested by YouTube users located in this District.

       The local node cache is filled on a read-through basis when content is requested by
       the end user. If the node already has the requested content in its local cache, it will
       serve the content via your network to the end user, improving the user experience
       and saving bandwidth. If the content is not stored on the node, and the content is
       cache-eligible, the node will retrieve it from Google, serve it to the user, and store
       it for future requests. Otherwise, the request will be served from the nearest
       upstream node which has the content. No content is pre-loaded.

Ex. 28 (available at https://peering.google.com/#/learn-more/faq).

       33.         Providing network infrastructure to ISPs in this District is critical to Google and

YouTube’s business. Google has “invested billions of dollars in the bandwidth and infrastructure

necessary to bring our services as close to your Internet Service Provider's (ISP) front door as

possible,            for         free.”                    Ex.        30         (available         at

https://www.google.com/get/videoqualityreport/#what_youtube_is_doing (emphasis added)).

“Google aims to deliver as much traffic as possible via edge nodes (GGC) in your network (if any)

and peering connections, as this will generally provide the optimal user experience and lowest

cost delivery for both the operator and Google . . . The majority of the traffic served by or through

an edge node [i.e., GGC] is static content such as YouTube videos.” Ex. 28 (available at

https://peering.google.com/#/learn-more/faq). “Our edge nodes (also known as Google Global

Cache, GGC) allow host network operators to optimise their traffic exchange with Google and

enhance      the      quality   of    experience     for    users.”        Ex.   29   (available    at

https://peering.google.com/#/options/google-global-cache).

       34.         The “vast majority” of Google and YouTube internet traffic in this District flows

through the GGC servers located in the ISP facilities located in this District and peering

connections with ISPs located in this District. “Google directly interconnects with all major



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Internet Service Providers (ISPs) and the vast majority of traffic from Google's network to our

customers is transmitted via direct interconnections with the client's ISP.” Ex. 31 (available at

https://cloud.google.com/blog/products/networking/understanding-google-cloud-network-edge-

points).

       35.      YouTube users located in this district upload content to YouTube. YouTube

regularly conducts business in this District by sending data to, and receiving data from, YouTube

user devices located in this District by way of GGC servers and peering connections located in

this District. Users who upload content to YouTube (i.e., content providers) are agents of

YouTube, including for the purposes of creating and serving YouTube content that YouTube uses

to generate advertising revenue as a core part of its business. YouTube has the right to direct or

control the actions of end users who upload content to YouTube by inter alia YouTube’s Terms

of Service, Community Guidelines, and agreements with content providers under the YouTube

Partnership Program. YouTube has consented that end users who upload content to YouTube

shall act on YouTube’s behalf, and end users who upload content to YouTube have consented to

act.

       36.      Content providers in the YouTube Partner Program have a contractual relationship

with YouTube whereby content providers upload videos and create YouTube web pages, receive

a share of YouTube revenue, and agree that YouTube has the right to direct or control some of

those user’s actions. Content providers that are not in the YouTube Partner Program upload

videos to YouTube, and YouTube generates advertising revenue by displaying those videos, but

does not share revenue with the uploader.




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…




Ex. 32 (available at https://support.google.com/youtube/answer/72851).

       37.    Content providers in the YouTube Partner Program must enter into a contract with

YouTube by signing the YouTube Partner Program terms, and must enter into a contract with

Google to create a Google AdSense account.




Ex. 32 (available at https://support.google.com/youtube/answer/72851).



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Ex. 33 (available at https://www.google.com/adsense/new/localized-terms).

       38.     All YouTube content providers who upload videos to YouTube, including users

who are not in the YouTube Partner Program, agree that YouTube has the right to direct or control

some of those user’s actions, as specified, for example, in YouTube's Terms of Service and

Community Guidelines.




Ex. 34 (available at https://studio.youtube.com).




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       39.     YouTube provides videos that The Waco City Cable Channel and other entities in

this District upload to YouTube. YouTube generates advertising revenue from those videos. On

information and belief, entities in this district have a contractual relationship with YouTube

whereby entities enter into the YouTube Partner Program, upload videos and create YouTube web

pages, and receive a share of YouTube advertising revenue. The Waco City Cable Channel and

other entities in this District, as agents of YouTube, promote the content they upload to YouTube,

which in turn promotes YouTube and generates advertising revenue for YouTube. Wildseed

Mobile intends to take discovery from YouTube channel owners located in this District to obtain

evidence related to infringement and damages. These YouTube channel owners will be witnesses

in this case and can testify about, inter alia, their usage of the accused products and contractual

arrangements with YouTube.




Ex. 35 (available at https://www.youtube.com/user/wccctv/about).




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Ex. 36 (available at https://www.youtube.com/c/KCENNews/about).




Ex. 37 (available at https://www.youtube.com/c/TheWacoDudes/about).




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Ex. 38 (available at

https://www.youtube.com/channel/UCOE42duvEjXG48b6BtOFBGA/about).

       40.     Videos uploaded to YouTube are critical to YouTube’s business.           The vast

majority of content available on YouTube is content that YouTube users have posted to YouTube.

YouTube monetizes this video content as a core part of its business model.

       41.     Additionally, certain local news stations in this District provide content to

YouTube. YouTube regularly conducts business in this district by sending data to, and receiving

data from, certain local news stations in this District. Certain local news stations are agents of

YouTube. YouTube has the right to direct or control the actions of certain local news stations in

this district by inter alia YouTube’s Terms of Service, Community Guidelines, and any

agreements between YouTube and the local news stations. YouTube consented that those local

news stations shall act on YouTube’s behalf, and those local news stations have consented to act.

       42.     YouTube TV charges users $65 per month for such content.




Ex. 39 (available at https://tv.youtube.com/welcome/).



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       43.     YouTube TV broadcasts content from providers including local news stations in

this District. On information and belief, YouTube has a contractual relationship with local news

stations in this District whereby YouTube pays entities in this District to act as YouTube’s agents

regarding content that entities create in this District. Example of some such local news stations

are shown below.




Ex. 39 (available at https://tv.youtube.com/welcome/).




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Ex. 40 (available at https://tv.youtube.com/welcome/).

       44.     YouTube regularly conducts business in this District by sending data to, and

receiving data from, YouTube end user devices located in this District by way of GGC servers

and peering connections located in this District. YouTube and Google gather information from

YouTube end users and use that information for monetization purposes as a core part of their

business. The information from end users gets passed back to Google and YouTube using peering

connections at ISP locations in this District. YouTube end users are agents of Google and

YouTube in furtherance of their businesses by virtue of voluntarily or involuntarily sharing

information generated on Google’s and YouTube’s servers. YouTube end users, including users

in this District, enter searches, select results, load and interact with YouTube pages, and load and

interact with YouTube videos, such that YouTube end users are continuously providing data that

YouTube and Google monetize as part of their core business model, including Google and



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YouTube’s advertising, content targeting, and video content business. YouTube and Google are

doing business at the computer of each of its end users and customers located in this district.

YouTube end users are thus agents of YouTube. YouTube has the right to direct or control the

actions of end users inter alia through YouTube’s Terms of Service and Community Guidelines.

YouTube consented that end users shall act on YouTube’s behalf, and end users have consented

to act by supplying information to YouTube and Google.

       45. YouTube end users enter searches and select results on YouTube.




Ex. 41 (available at https://www.youtube.com).




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       46.     YouTube end users load YouTube web pages and videos. For example, when a

user requests a YouTube page, the end user’s device triggers a series of events whereby the end

user device receives instructions from YouTube and Google, executes those instructions, receives

further instructions from YouTube and Google, and executes those further instructions, until the

end user device eventually loads YouTube content.

       47.     YouTube initially responds to the request for www.youtube.com with a visually

empty html page that has a few lines of JavaScript.




Ex. 42 (screenshot of Chrome browser and Chrome DevTools loading youtube.com)

       48.     The YouTube page will not successfully load unless the end user’s device executes

the JavaScript, iteratively communicates with YouTube servers, and performs the iterative steps

necessary for the content to load. If, for example, the end user’s device pauses the process after




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the page partially loads and some of the elements that are part of the final page are visible, the

page will not finish loading and will not show any ads or video.




       49.     The JavaScript includes instructions to fetch additional JavaScript and data,

including an instruction to display any advertisement that won a Google advertising auction.




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Ex. 43 (screenshot of Chrome browser and Chrome DevTools loading youtube.com).

       50.    While YouTube end users interact with YouTube web pages and content, for

example by viewing YouTube videos, end users continuously transmit data to YouTube. For

example, end user computers send data regarding what users click and watch. For example, in

the screen shot below, the YouTube end user device posted “log_event” and other tracking data

to YouTube’s “Video Stats Server” and “ESF” server using URLs such as “...youtube.com…

/stats/ …”.




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Ex. 44 (screenshot of Chrome browser and Chrome DevTools playing

https://www.youtube.com/c/TheWacoDudes/featured).

       51.    Each day, YouTube uses billions of pieces of data continuously collected from

YouTube end users, including “clicks, watchtime, survey responses, sharing, likes, and dislikes”

from users in this district, to improve YouTube’s business of targeting advertising and other

content to YouTube users worldwide.




Ex. 45 (available at https://blog.youtube/inside-youtube/on-youtubes-recommendation-system).




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       52.     YouTube and Google use data collected from end users, including those in this

District, to determine which advertisements to show the end users, including advertisements that

relate to YouTube videos or web pages that YouTube users in this District are viewing. YouTube

shows video ads to YouTube end users, including users in this District, “when they watch or

search for videos on YouTube.” Advertisements that appear on YouTube are targeted based on

data collected from end users, including users in this District, where such data includes what users

are watching on YouTube, users’ locations, “interests and habits,” and whether users are “actively

researching or planning to purchase products or services like” what the advertiser is selling.




Ex. 46 (available at https://support.google.com/google-ads/answer/2454017) (emphasis added).




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…




Ex. 47 (available at https://ads.google.com/home/campaigns/video-ads/).




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Ex. 48 (available at https://www.thinkwithgoogle.com/feature/findmyaudience/).

       53.     YouTube and Google use data collected from end users, includer users in this

District, to determine how much to charge advertisers. For example, an advertiser may be charged

based on whether a YouTube end user viewed a video ad, watched the video ad for 30 seconds or

to the end of the video, or interacted with the video ad. As another example, YouTube and Google

track whether users, including users in this District, view an ad, click on an ad, or convert, in order

to determine whether to charge an advertiser that has agreed to pay for viewable impressions,

clicks, or conversions. Google provides video ad metrics to YouTube advertisers in furtherance

of Google and YouTube’s advertising business.




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Ex. 49 (available at https://www.youtube.com/intl/en_us/ads/how-it-works/set-up-a-

campaign/budget/).




Ex. 50 (available at https://support.google.com/google-ads/answer/2472735).




…




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Ex. 51 (available at https://support.google.com/google-ads/answer/2375431).




Ex. 52 (available at https://support.google.com/google-ads/answer/10276703).

       54.    Google and YouTube use data collected from end users, including uses in this

District, to determine how much to pay YouTube Program Partners. YouTube provides “a share

of advertising revenue from viewers watching your video” and determines how much to pay each

YouTube Program Partner pursuant to YouTube’s contract with that YouTube Program Partner.




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…




Ex. 53 (available at https://support.google.com/youtube/answer/72902).

       55.     All YouTube users agree that YouTube has the right to direct or control the user’s

action as specified in YouTube's Terms of Service, which states “Your use of the Service is subject

to these terms, the YouTube Community Guidelines and the Policy, Safety and Copyright

Policies . . . If you do not understand the Agreement, or do not accept any part of it, then you may

not use the Service.” Ex. 16 at 3-4 (available at https://www.youtube.com/static?template=terms).

YouTube users consent to acting in accordance with YouTube’s terms and YouTube consents to

its users uploading content for its business purposes.




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                                   THE ASSERTED PATENTS

       56.     On May 20, 2008, the United States Patent Office issued the ’414 patent titled

“Method And System For Inserting Advertisements Into Broadcast Content,” naming G. Eric

Engstrom as the inventor. A true and correct copy of the ’414 patent is attached as Exhibit A.

       57.     On September 22, 2015, the United States Patent Office issued the ’960 patent

titled “Venue And Event Recommendations For A User Device Of A Portable Media Player

Device,” naming Evan Feldman and Jonathan Nelson as inventors. A true and correct copy of

the ’960 patent is attached as Exhibit B.

       58.     On April 2, 2019, the United States Patent Office issued the ’021 patent titled

“Venue And Event Recommendations For A User Device Of A Portable Media Player Device,”

naming Evan Feldman and Jonathan Nelson as inventors. A true and correct copy of the ’021

patent is attached as Exhibit C.

       59.     On March 23, 2021, the United States Patent Office issued the ’040 patent titled

“Venue And Event Recommendations For A User Device Of A Portable Media Player Device,”

naming Evan Feldman and Jonathan Nelson as inventors. A true and correct copy of the ’040

patent is attached as Exhibit D.

       60.     On December 15, 2020, the United States Patent Office issued the ’169 patent

titled “Method And System For Generating And Sending A Hot Link Associated With A User

Interface To A Device,” naming G. Eric Engstrom, Peter Zatloukal and Tyrol Graham as inventors.

A true and correct copy of the ’169 patent is attached as Exhibit E.

       61.     Wildseed Mobile is the owner of all right, title, and interest in and to each of the

Asserted Patents with full and exclusive right to bring suit to enforce the Asserted Patents,

including the right to recover for past damages and/or royalties prior to the expiration of the

Asserted Patents.



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       62.     The Asserted Patents are valid and enforceable.

              COUNT I – INFRINGEMENT OF U.S. PATENT NO. 7,376,414

       63.     Plaintiff incorporates by reference the allegations contained in the preceding

paragraphs of this Complaint as if fully set forth herein.

       64.     Defendants make, use, offer for sale, and/or sell in the United States and/or import

into the United States products and services that provide video content and video advertisements

to cellular devices. Specifically, Google, through its online store and retailers, provides cellular

devices including the Google Pixel line of smartphones to consumers. Google also operates

servers that provide video advertisements to be played on cellular devices via the YouTube app

or on the YouTube website via a browser, such as the Chrome browser. YouTube operates servers

that provide videos to cellular devices via the YouTube app and YouTube website, including

providing videos and notifications to subscribers of YouTube channels (collectively, the “’414

Patent Accused Products”).

       65.     The ’414 Patent Accused Products infringe at least claims 1, 9, and 14 of the ’414

patent in the exemplary manner described below.

       66.     Claim 1: Defendants have directly and/or indirectly infringed and continue to

directly/or and indirectly infringe, literally and/or under the doctrine of equivalents, by using and

providing the ’414 Patent Accused Products, which provide a method for playing content and

advertisements on a cellular device.

       67.     The ’414 Patent Accused Products autonomously provide to a server, by the

cellular device, information associated with a user of the cellular device, the information taken by

the cellular device from a message sent to the cellular device from another user of another cellular

device, the message identifying characteristics of the user of the cellular device. For example, the




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YouTube app allows users to subscribe to YouTube channels. A subscriber can choose to receive

a notification message every time the channel adds a new video.




Source: YouTube app.




Source: YouTube app.

       68.     When a YouTube channel owner uploads a video using a cellular device a

notification message is sent to each subscriber. Notification messages are delivered to subscribers’

cellular devices via email and the YouTube app.




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Source: YouTube app screenshot.




Source:
https://support.google.com/youtube/answer/3382248?co=GENIE.Platform%3DAndroid&oco=1#
zippy=

       69.     The notification message is associated with a video, which is itself associated with

a certain topic of interest to the subscriber (i.e., a characteristic of the user). Additionally, the

notification message contains a unique identifier that identifies the video (“Video ID”). This

video identifier is embedded in the URL used to retrieve the video for playback. The Video ID is

shown in the URL used by a web browser to retrieve the YouTube video. For example, in the

screenshot below, the Video ID is “AkBOu0S6sOc.”




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Source: https://www.youtube.com/watch?v=AkBOu0S6sOc.
       70.    Additionally, the Video ID is autonomously provided to the YouTube servers

periodically via HTML Post methods (referred to as “docid” in this example) while the user

watches the video.




Source: Screenshot of Chrome browser Developer Tools loading
https://www.youtube.com/watch?v=AkBOu0S6sOc




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       71.     The Video ID identifies the video that the user is watching. YouTube uses the

Video ID to track the videos that a user watches to create a profile of the user that YouTube uses

to determine which targeted ads to send to the user.




Ex. 46 (https://support.google.com/youtube/answer/2454017).

       72.     In Google’s My Activity website, users can see the online activity that Google

tracks. Google uses this information to target ads, including YouTube ads.




Source: https://myactivity.google.com/myactivity




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Source: https://myactivity.google.com/myactivity

       73.     The cellular device will receive, from the server, at least one advertisement to be

played on the cellular device, wherein the at least one received advertisement is determined by

the server based at least in part on the provided information. For example, the cellular device will

receive, from the YouTube servers, advertisements to be played based on the provided

information (user’s topics of interest, interests, affinities, etc.).   The following shows an

advertisement being played.




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Source: Screenshot of mid-roll ad playing on YouTube app.
       74.     YouTube includes targeting of advertisements based on the characteristics of the

user, including the user’s preferred content.




Ex. 46 (https://support.google.com/youtube/answer/2454017).

       75.     If a determined time interval occurs, the cellular devices stops playing of content

and plays at least one of the determined advertisements. For example, the cellular device can play



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advertisements during a video at set time intervals. YouTube allows for mid-roll ads that play at

a determined time interval either set by the channel owner or automatically set by Google.




Source: https://support.google.com/youtube/answer/6175006




Source: https://support.google.com/youtube/answer/6175006

       76.     For manually placed mid-roll ads, the channel owner uses YouTube Studio to add

“ad breaks” at the desired times.




Source: https://support.google.com/youtube/answer/6175006

       77.     The cellular device records the content that was stopped while the advertisement

plays. Advertisements will pause the video content and play while the content is recorded. As

shown in this advertisement, the video content is paused while the advertisement plays.



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Source: Screenshot of mid-roll ad playing on YouTube app.
       78.     As shown when the video content starts up again, it has been recorded (e.g.,

buffered) while the advertisement played, as shown in the advancement of the grey bar showing

the buffering of the video content after it is initiated again after the advertisement.




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Source: Screenshot of YouTube app.
       79.     When the playing of the at least one determined advertisement is completed, the

cellular device resumes playing the stopped content, from where the stopping of the playing of

the content occurred, using the recorded (i.e., buffered) content. The below shows the cellular

device resuming play of the video content (and recorded portions of the content) after pausing the

content for an advertisement.




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Source: Screenshot of YouTube app.

       80.     Direct Infringement: Defendants themselves directly infringe at least claim 1 of

the ’414 patent, for example, when Defendants operate, use and/or test the Accused Products to

perform the method of claim 1.

       81.     Inducement: Defendants have indirectly infringed and continue to indirectly

infringe the ’414 patent by inducing direct infringement of the ’414 patent by their clients,

customers, and users who directly infringe in the manner described above. Defendants were made

aware of the ’414 patent and their infringement of the ’414 patent at least as early as November

30, 2021 when Wildseed Mobile provided notice of infringement of the ’414 patent to Sundar

Pichai of Google and Susan Wojcicki of YouTube. From at least the time that Defendants

received notice, Defendants have been actively inducing their clients, customers, and users to

directly infringe at least claim 1 of the ’414 patent as described above.

       82.     Defendants have taken affirmative steps to induce infringement of the ’414 patent

by their clients, customers, and users by, for example, advertising and distributing the ’414 Patent

Accused Products and providing instruction materials, training, and services instructing clients,

customers, and users to act in a manner that infringes the ’414 patent. For example, Google sells

Google Pixel phones to consumers on its website. See https://store.google.com/category/phones.

Additionally, YouTube makes the YouTube app available for download onto cellular devices

through      the    Google       Play     Store        and   Apple     App      Store.          See

https://play.google.com/store/apps/details?id=com.google.android.youtube,

https://apps.apple.com/us/app/youtube-watch-listen-stream/id544007664.          Defendants have

taken affirmative actions to induce infringement by intentionally instructing their clients,

customers, and users to infringe the claims of the ’414 patent by providing instructional materials

to clients, customers, and users regarding YouTube subscriptions and notifications on Google’s



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website.                       See           https://support.google.com/youtube/answer/4489286,

https://support.google.com/youtube/answer/3382248.

       83.      Defendants have specifically intended, and still intend, that their clients, customers,

and users infringe the ’414 patent. Defendants have been, and still are, aware that the acts of their

clients, customers, and users – including clients, customers, and users located in this District –

described above constitute infringement of the ’414 patent. Defendants have known and intended

that their continued actions would actively induce the infringement of at least claim 1 of the ’414

patent by their clients, customers, and users. With knowledge of both the ’414 patent and their

infringement of the ’414 patent, Defendants acted with specific intent or willful blindness to

actively aid and abet their clients, customers, and users in infringing at least claim 1 of the ’414

patent. Defendants are thus liable for infringement of the ’414 patent under 35 U.S.C. § 271(b).

       84.      Contributory: Defendants contribute to infringement of the ’414 patent by

offering to commercially distribute and commercially distributing the YouTube app, which

includes and/or implements Defendants’ YouTube and Google Ads services, to clients, customers,

and users, which in combination with a cellular device, such as a smartphone or tablet, satisfy

each and every limitation of the claims, as described above. First, to the extent a device is not

preloaded with the YouTube app, Defendants provide the YouTube app to clients, customers, and

users, who then install it on their devices, such as Apple iOS and Android smartphones and tablets.

The underlying direct infringement, as described above, occurs, for example, when an end-user

installs and runs a compatible version of the YouTube app on their device. The YouTube app,

which includes and/or implements Defendants’ YouTube and Google Ads services, constitutes a

material part of the invention of the ’414 patent as is apparent from the infringement allegations

described above, which detail infringement by the YouTube app.              Since at least the date

Defendants received notice of the ’414 patent and their infringement of the ’414 patent,



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Defendants have known that the YouTube app is especially made and adapted for use in infringing

the ’414 patent. The YouTube app, including and/or implementing Defendants’ YouTube and

Google Ads services, provides the user with access to YouTube services. The YouTube app,

including and/or implementing Defendants’ YouTube and Google Ads services, is not a staple

article or commodity of commerce and has no substantial non-infringing uses. The only purpose

of the accused functionality of the accused YouTube app is to play content and advertisements as

described above. The YouTube app is specially designed and adapted to play content and

advertisements as described above. The YouTube app cannot be used to view videos in a manner

that disables or avoids the accused video advertisement functionality. Furthermore, the YouTube

app is only operable when installed on a cellular device. As explained above, the YouTube app

is designed and configured to infringe at least claim 1 of the ’414 patent.

       85.     Second, to the extent Defendants’ devices are manufactured by third-party vendors,

Defendants contribute to infringement of the ’414 patent by providing material parts of the

invention, including the YouTube app loaded onto the cellular devices. The YouTube app is a

material part of the invention, as is apparent from the infringement allegations described above,

which detail infringement by the YouTube app. The underlying direct infringement, as described

above, occurs when a third-party vendor makes, uses (e.g., tests), offers for sale, and/or sells in

the United States cellular devices that use the YouTube app to access Defendants’ YouTube and

Google Ads services. The YouTube app, including and/or implementing Defendants’ YouTube

and Google Ads services, provides the user with access to YouTube services. Since at least the

date Defendants received notice of the ’414 patent and their infringement of the ’414 patent,

Defendants have known that the YouTube app, including and/or implementing Defendants’

YouTube and Google Ads services, to be especially made or especially adapted for use in

infringement of the ’414 patent, and not to be a staple article, nor commodity of commerce



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suitable for substantial non-infringing use. The only purpose of the accused functionality of the

accused YouTube app is to play content and advertisements as described above. The YouTube

app is specially designed and adapted to play content and advertisements as described above. The

YouTube app cannot be used to view videos in a manner that disables or avoids the accused video

advertisement functionality. Furthermore, the YouTube app is only operable when installed on a

cellular device. As explained above, the YouTube app is designed and configured to infringe at

least claim 1 of the ’414 patent. In both cases, Defendants are liable for infringement of the ’414

patent under 35 U.S.C. § 271(c).

       86.     Claim 9: Defendants have directly and/or indirectly infringed and continue to

directly and/or indirectly infringe, literally and/or under the doctrine of equivalents, by or through

making, using, offering for sale, selling within the United States and/or importing Google Pixel

smartphones with a web browser capable of accessing YouTube, and the YouTube app.

       87.     The accused Google Pixel smartphones are cellular devices comprising a memory

for storing logical instructions. For example, the Google Pixel 5 is a smartphone that includes a

memory for storing logical instructions, including software code.




Source: https://support.google.com/pixelphone/answer/7158570?hl=en#zippy=%2Cpixel

       88.     The Google Pixel smartphones include a wireless interface unit for sending and

receiving data. For example, the Google Pixel 5 includes cellular and Wi-Fi wireless interfaces

for sending and receiving data.


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Source: https://support.google.com/pixelphone/answer/7158570?hl=en#zippy=%2Cpixel




Source: https://support.google.com/pixelphone/answer/7158570?hl=en#zippy=%2Cpixel

       89.     The Google Pixel smartphones include a processor for executing the logical

instructions stored in the memory, the execution of the logical instructions causing actions to be

performed. For example, the Pixel 5 includes a Qualcomm®5 Snapdragon™ 765G processor for

executing software code (logical instructions) stored in memory.




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Source: https://support.google.com/pixelphone/answer/7158570?hl=en#zippy=%2Cpixel
       90.     The Google Pixel smartphones running the YouTube app or accessing the

YouTube website autonomously provide to a server information associated with a user of the

cellular device, the information taken by the cellular device from a message sent to the cellular

device from another user of another cellular device, the message identifying characteristics of the

user of the cellular device. For example, the YouTube app allows users to subscribe to YouTube

channels. A subscriber can choose to receive a notification message every time the channel adds

a new video.




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Source: YouTube app screenshots.
       91.     When a YouTube channel owner uploads a video using a cellular device a

notification message is sent to each subscriber. Notification messages are delivered to subscribers’

cellular devices via email and the YouTube app.




Source: YouTube app screenshot.




Source:
https://support.google.com/youtube/answer/3382248?co=GENIE.Platform%3DAndroid&oco=1
#zippy=



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       92.     The notification message is associated with a video, which is itself associated with

a certain topic of interest to the subscriber (i.e., a characteristic of the user). Additionally, the

notification message contains a unique identifier that identifies the video (“Video ID”). This

video identifier is embedded in the URL used to retrieve the video for playback. The Video ID is

shown in the URL used by a web browser to retrieve the YouTube video. For example, in the

screenshot below, the Video ID is “AkBOu0S6sOc.”




Source: https://www.youtube.com/watch?v=AkBOu0S6sOc.
       93.     Additionally, the Video ID is autonomously provided to the YouTube servers

periodically via HTML Post methods (referred to as “docid” in this example) while the user

watches the video.




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Source: Screenshot of Chrome browser Developer Tools loading
https://www.youtube.com/watch?v=AkBOu0S6sOc
       94.     The Video ID identifies the video that the user is watching. YouTube uses the

Video ID to track the videos that a user watches to create a profile of the user that YouTube uses

to determine which targeted ads to send to the user.




Ex. 46 (https://support.google.com/youtube/answer/2454017).
       95.     In Google’s My Activity website, users can see the online activity that Google

tracks. Google uses this information to target ads, including YouTube ads.




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Source: https://myactivity.google.com/myactivity
       96.    The Google Pixel smartphones running the YouTube app or accessing the

YouTube website receive from the server at least one advertisement, wherein the at least one

received advertisement is determined by the server based at least in part on the provided




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information.    For example, the YouTube app will receive from the YouTube servers

advertisements to be played based on the provided information (user’s topics of interest, interests,

affinities, etc.). The following shows an advertisement being played.




Source: Screenshot of mid-roll ad playing on YouTube app.
       97.     YouTube includes targeting of advertisements based on the characteristics of the

user, including the user’s preferred content.




Ex. 46 (https://support.google.com/youtube/answer/2454017).




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       98.     If a determined time interval occurs, the Google Pixel smartphones with the

YouTube app will stop playing of content, and play the at least one determined advertisement, the

playing of the at least one determined advertisement comprising recording the content which

playing was stopped while the at least one determined advertisement is playing. For example,

YouTube allows for mid-roll ads that play at a determined time interval either set by the channel

owner or automatically set by Google.




Source: https://support.google.com/youtube/answer/6175006




Source: https://support.google.com/youtube/answer/6175006
       99. For manually placed mid-roll ads, the channel owner uses YouTube Studio to add “ad

breaks” at the desired times.




Source: https://support.google.com/youtube/answer/6175006




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       100.    The cellular device records the content that was stopped while the advertisement

plays. Advertisements will pause the video content and play while the content is recorded. As

shown in this advertisement, the video content is paused while the advertisement plays.




Source: Screenshot of mid-roll ad playing on YouTube app.
       101.    As shown when the video content starts up again, it has been recorded (e.g.,

buffered) while the advertisement played, as shown in the advancement of the grey bar showing

the buffering of the video content after it is initiated again after the advertisement.




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Source: Screenshot of YouTube app.
       102.    When the playing of the at least one determined advertisement is completed, the

cellular device resumes playing the stopped content, from where the stopping of the playing of

the content occurred, using the recorded (i.e., buffered) content.

       103.    Inducement: Defendants have indirectly infringed and continue to indirectly

infringe the ’414 Patent by inducing direct infringement of the ’414 Patent by their clients,

customers, and users who directly infringe in the manner described above. Defendants were made

aware of the ’414 patent and their infringement of the ’414 patent at least as early as November

30, 2021 when Wildseed Mobile provided notice of infringement of the ’414 patent to Sundar

Pichai of Google and Susan Wojcicki of YouTube. From at least the time that Defendants

received notice, Defendants have been actively inducing their clients, customers, and users to

directly infringe at least claim 9 of the ’414 patent as described above.

       104.    Defendants have taken affirmative steps to induce infringement of the ’414 patent

by their clients, customers, and users by, for example, advertising and distributing the ’414 Patent

Accused Products and providing instruction materials, training, and services instructing clients,

customers, and users to act in a manner that infringes the ’414 patent. For example, Google sells


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Google Pixel phones to consumers on its website. See https://store.google.com/category/phones.

Additionally, YouTube makes the YouTube app available for download onto cellular devices

through       the    Google      Play      Store        and   Apple      App      Store.          See

https://play.google.com/store/apps/details?id=com.google.android.youtube,

https://apps.apple.com/us/app/youtube-watch-listen-stream/id544007664.            Defendants have

taken affirmative actions to induce infringement by intentionally instructing their clients,

customers, and users to infringe the claims of the ’414 patent by providing instructional materials

to clients, customers, and users regarding YouTube subscriptions and notifications on Google’s

website.                       See           https://support.google.com/youtube/answer/4489286,

https://support.google.com/youtube/answer/3382248.

       105.     Defendants have specifically intended, and still intend, that their clients, customers,

and users infringe the ’414 patent. Defendants have been, and still are, aware that the acts of their

clients, customers, and users – including clients, customers, and users located in this District –

described above constitute infringement of the ’414 patent. Defendants have known and intended

that its continued actions would actively induce the infringement of at least claim 9 of the ’414

patent by their clients, customers, and users. With knowledge of both the ’414 patent and its

infringement of the ’414 patent, Defendants acted with specific intent or willful blindness to

actively aid and abet their clients, customers, and users in infringing at least claim 9 of the ’414

patent. Defendants are thus liable for infringement of the ’414 patent under 35 U.S.C. § 271(b).

       106.     Contributory: Defendants contribute to infringement of the ’414 patent by

offering to commercially distribute and commercially distributing the YouTube app, which

includes and/or implements Defendants’ YouTube and Google Ads services, to clients, customers,

and users, which in combination with a cellular device, such as a smartphone or tablet, satisfy

each and every limitation of the claims, as described above. First, to the extent a device is not



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preloaded with the YouTube app, Defendants provide the YouTube app to clients, customers, and

users, who then install it on their devices, such as Apple iOS and Android smartphones and tablets.

The underlying direct infringement, as described above, occurs, for example, when an end-user

installs and runs a compatible version of the YouTube app on their device. The YouTube app,

which includes and/or implements Defendants’ YouTube and Google Ads services, constitutes a

material part of the invention of the ’414 patent, as is apparent from the infringement allegations

described above, which detail infringement by the YouTube app.            Since at least the date

Defendants received notice of the ’414 patent and their infringement of the ’414 patent,

Defendants have known that the YouTube app is especially made and adapted for use in infringing

the ’414 patent. The YouTube app, including and/or implementing Defendants’ YouTube and

Google Ads services, provides the user with access to YouTube services. The YouTube app,

including and/or implementing Defendants’ YouTube and Google Ads services, is not a staple

article or commodity of commerce and has no substantial non-infringing uses. The only purpose

of the accused functionality of the accused YouTube app is to play content and advertisements as

described above. The YouTube app is specially designed and adapted to play content and

advertisements as described above. The YouTube app cannot be used to view videos in a manner

that disables or avoids the accused video advertisement functionality. Furthermore, the YouTube

app is only operable when installed on a cellular device. As explained above, the YouTube app

is designed and configured to infringe at least claim 9 of the ’414 patent.

       107.    Second, to the extent Defendants’ devices are manufactured by third-party vendors,

Defendants contribute to infringement of the ’414 patent by providing material parts of the

invention, including the YouTube app loaded onto the cellular devices. The YouTube app is a

material part of the invention, as is apparent from the infringement allegations described above,

which detail infringement by the YouTube app. The underlying direct infringement, as described



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above, occurs when a third-party vendor makes, uses (e.g., tests), offers for sale, sells and/or

imports into the United States cellular devices that use the YouTube app to access Defendants’

YouTube and Google Ads services.           The YouTube app, including and/or implementing

Defendants’ YouTube and Google Ads services, provides the user with access to YouTube

services.   Since at least the date Defendants received notice of the ’414 patent and their

infringement of the ’414 patent, Defendants have known that the YouTube app, including and/or

implementing Defendants’ YouTube and Google Ads services, to be especially made or especially

adapted for use in infringement of the ’414 patent, and not to be a staple article, nor commodity

of commerce suitable for substantial noninfringing use. The only purpose of the accused

functionality of the accused YouTube app is to play content and advertisements as described

above. The YouTube app is specially designed and adapted to play content and advertisements

as described above. The YouTube app cannot be used to view videos in a manner that disables

or avoids the accused video advertisement functionality. Furthermore, the YouTube app is only

operable when installed on a cellular device. As explained above, the YouTube app is designed

and configured to infringe at least claim 9 of the ’414 patent. In both cases, Defendants are liable

for infringement of the ’414 patent under 35 U.S.C. § 271(c).

       108.    Claim 14: Defendants have directly infringed and continue to directly infringe,

literally and/or under the doctrine of equivalents, by or through operating within the United States

the YouTube servers and Google Ads servers.

       109.    The YouTube and Google Ads servers are articles of manufacture comprising a

storage medium and a plurality of programming instructions stored on the storage medium and

adapted to instantiate a server for providing content and advertisements to cellular devices, the

server configured to cause actions to be performed. For example, YouTube and Google Ads

servers include hard drives (storage medium) that store software (programming instructions) and



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deliver content and advertisements to cellular devices.       Defendants’ servers provide high-

definition quality streaming for YouTube videos.




Source: https://cloud.google.com/blog/products/networking/understanding-google-cloud-

network-edge-points

       110.    The YouTube and Google Ads servers receive information associated with a user

of a cellular device from the cellular device, independent of user input, the information taken by

the cellular device from a message sent to the cellular device from another user of another cellular

device, the message identifying characteristics of the user of cellular the device. For example, the

YouTube app allows users to subscribe to YouTube channels. A subscriber can choose to receive

a notification message every time the channel adds a new video.




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Source: YouTube app screenshots.
       111.    When a YouTube channel owner uploads a video using a cellular device a

notification message is sent to each subscriber. Notification messages are delivered to subscribers’

cellular devices via email and the YouTube app.




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Source: YouTube app screenshot.




Source:
https://support.google.com/youtube/answer/3382248?co=GENIE.Platform%3DAndroid&oco=1
#zippy=
       112.    The notification message is associated with a video, which is itself associated with

a certain topic of interest to the subscriber (i.e., a characteristic of the user). Additionally, the

notification message contains a unique identifier that identifies the video (“Video ID”). This

video identifier is embedded in the URL used to retrieve the video for playback. The Video ID is

shown in the URL used by a web browser to retrieve the YouTube video. For example, in the

screenshot below, the Video ID is “AkBOu0S6sOc.”




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Source: https://www.youtube.com/watch?v=AkBOu0S6sOc.
       113.   Additionally, the Video ID is autonomously provided to the YouTube servers

periodically via HTML Post methods (referred to as “docid” in this example) while the user

watches the video.




Source: Screenshot of Chrome browser Developer Tools loading
https://www.youtube.com/watch?v=AkBOu0S6sOc.




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       114.    The Video ID identifies the video that the user is watching. YouTube uses the

Video ID to track the videos that a user watches to create a profile of the user that YouTube uses

to determine which targeted ads to send to the user.




Ex. 46 (https://support.google.com/youtube/answer/2454017).
       115.    In Google’s My Activity website, users can see the online activity that Google

tracks. Google uses this information to target ads, including YouTube ads.




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Source: https://myactivity.google.com/myactivity
        116.     The YouTube and Google Ads servers employ the received information to

determine at least one advertisement to be played on the cellular device. For example, YouTube

and Google Ads servers select advertisements to be played based on the provided information

(user’s topics of interest, interests, affinities, etc.).




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Ex. 46 (https://support.google.com/youtube/answer/2454017).
       117.   The accused YouTube and Google Ads servers provide the at least one determined

advertisement to the cellular device. The following shows an advertisement provided by the

YouTube and Google Ads servers being played on the YouTube app.




Source: Screenshot of mid-roll ad playing on YouTube app.
       118.   If a determined time interval occurs, playing of the content by the cellular device

is stopped and the at least one determined advertisement is played on the cellular device. For


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example, the cellular device can play advertisements during a video at set time intervals.

YouTube allows for mid-roll ads that play at a determined time interval either set by the channel

owner or automatically set by YouTube.




Source: https://support.google.com/youtube/answer/6175006




Source: https://support.google.com/youtube/answer/6175006
       119.    For manually placed mid-roll ads, the channel owner uses YouTube Studio to add

“ad breaks” at the desired times.




Source: https://support.google.com/youtube/answer/6175006
       120.    The cellular device records the content that was stopped while the advertisement

plays. Advertisements will pause the video content and play while the content is recorded. As

shown when the video content starts up again, it has been recorded (e.g., buffered) while the




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advertisement played, as shown in the advancement of the grey bar showing the buffering of the

video content after it is initiated again after the advertisement.




Source: Screenshot of YouTube app.
       121.    When the playing of the at least one determined advertisement is completed, the

cellular device resumes playing the stopped content, from where the stopping of the playing of

the content occurred, using the recorded (i.e., buffered) content.

       122.    Since at least November 30, 2021, when the Defendants received a letter from

Wildseed Mobile providing notice of the ’414 patent and of their infringement of the ’414 patent,

Defendants’ continuing infringement of the ’414 patent has been willful and intentional. Since at

least November 30, 2021, Defendants have been continuing to willfully infringe the ’414 patent

by refusing to take a license and continuing to make, use, test, sell, license, and/or offer for

sale/license the ’414 Patent Accused Products. Defendants have been aware that they infringe

the ’414 patent since at least November 30, 2021 and instead of taking a license, Defendants have

opted to make the business decision to “efficiently infringe” the ’414 patent. Defendants never

responded to Wildseed Mobile’s November 30, 2021 letter. Since receiving the November 30,



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2021 letter, Defendants have not made an offer to license Wildseed Mobile’s patents or engaged

in any licensing discussions with Wildseed Mobile. Defendants have not designed around

Wildseed Mobile’s patents or abated their infringement in any way. Defendants thus knew, or

should have known, that its conduct amounted to infringement of the ’414 patent since at least

November 30, 2021, when the Defendants received a letter from Wildseed Mobile informing them

of the ’414 patent and of their infringement of the ’414 patent. Therefore, Defendants are liable

for willful infringement of the ’414 patent.

       123.    Defendants’ infringement has damaged and injured and continues to damage and

injure Wildseed Mobile.

              COUNT II – INFRINGEMENT OF U.S. PATENT NO. 9,141,960

       124.    Plaintiff incorporates by reference the allegations contained in the preceding

paragraphs of this Complaint as if fully set forth herein.

       125.    Defendants make, use, offer for sale, and/or sell in the United States and/or import

into the United States products and services that provide event and venue recommendations and

portable media player devices that receive event and venue recommendations. Google operates

Google Search servers that provide venue and event search results to users of portable media

player devices via the Google Search website and the Google app. Additionally, Google operates

servers that track users’ online activities so that Google can infer entertainment preferences of a

user. Google provides the Google Pixel smartphones, which are portable media player devices.

Additionally, YouTube provides the YouTube app, which executes on the Google Pixel

smartphones and accesses and plays media files (collectively, the “’960 Patent Accused

Products”).

       126.    The ’960 Patent Accused Products infringe at least claims 1 and 16 of the ’960

patent in the exemplary manner described below.



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       127.    Claim 1: Google has directly infringed and continues to directly infringe, literally

and/or under the doctrine of equivalents, by operating Google Search servers that perform each

and every limitation of Claim 1.

       128.    Google Search servers retrieve a plurality of media stored on or accessed using a

portable media player device, or information about said plurality of media. For example, Google’s

My Activity website shows the information that Google servers track about user’s online activity,

including activity on mobile devices (portable media player devices), and whether the media

accessed was textual (e.g., books and websites with textual content), image (e.g., pictures), audio

(e.g., music and podcasts), or video (e.g., videos on YouTube) media.




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Source: https://myactivity.google.com




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       129.    Google Search servers infer, based at least in part of the retrieved plurality of media

or the retrieved information about said plurality of media, one or more entertainment preferences

of a user of the portable media player device. For example, Google servers track users’ activities

on Google apps, sites, and services and use this information to provide better recommendations.




Source: https://support.google.com/websearch/answer/9083858




Source: https://policies.google.com/privacy
       130.    Google Search servers access one or more sources of information about venues or

events proximal to a current location of the user. For example, when a search is performed for an

event without adding a location, Google Search servers access sources of information (Google

Search Index) about venues or events near the user’s location.




Source: https://www.google.com/search/howsearchworks/crawling-indexing/




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Source: https://support.google.com/websearch/answer/9083858



       131.    Google Search servers identify at least one of said venues or events as being of

interest to the user based at least in part on the one or more entertainment preferences inferred by

the server and the current location of the user.        The Google Search servers generate a

recommendation indicating the identified venue or event as a venue or event of interest to the user

and communicate the recommendation to the user. For example, when a user searches for

“concerts” in the Google App, the Google Search servers identify at least one venue and event of

interest to and near the current location of the user (in this example, San Francisco) and send the

recommendation to the user.




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Source: Screenshot of Google app.
       132.    Claim 16: Defendants have directly and/or indirectly infringed and continue to

directly and/or indirectly infringe, literally and/or under the doctrine of equivalents, by or through

making, using, offering for sale, selling within the United States and/or importing Google Pixel

smartphones with a web browser that can access Google Search servers and/or with the Google

app and the YouTube app.

       133.    Google Pixel smartphones are portable media player devices comprising a storage

medium configured to store one or more of a plurality of media and information about said

plurality of media. For example, the Google Pixel 6 has 4GB of RAM and a 64GB hard drive

that can store a variety of media files and metadata with information about those files.




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Source: https://support.google.com/pixelphone/answer/7158570




Source: https://support.google.com/pixelphone/answer/2840804

       134.   The Google Pixel smartphones include a player coupled to the storage medium and

endowed with executable instructions operable, upon execution, to cause the portable media

player device to selectively play the media. For example, the Pixel 6 can play audio and video

media files and display images and text media. Additionally, the YouTube app executing on a

Google Pixel 6 can play media downloaded from YouTube servers.




Source: https://support.google.com/youtube/answer/6308116




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Source: https://www.groovypost.com/howto/download-youtube-premium-videos-on-android-

or-ios/

          135.   The Google Pixel smartphones receive from the server, in response to providing

the server with the current location, a recommendation indicating a venue or event of interest

located proximal to the current location of the user as being of interest to the user. When a user

searches for events or venues in the Google app on a Google Pixel 6, the Pixel 6 provides its

location to Google’s servers, which in turn use the location information provided by the Pixel 6

to recommend a venue or event that is near the location of the user (in the example below, San

Francisco).




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Source: https://support.google.com/websearch/answer/9083858




Source: https://support.google.com/websearch/answer/179386




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Source: Screenshot of Google app.

       136.    The recommendation received by the Google Pixel smartphones is generated by

the server based at least in part on the inferred current location of the user, data accessed by the

server from one or more sources of information about venues or events proximal to the current

location of the user, and at least one inferred entertainment preference of the user, the event or

venue of interest being one of said venues or events. As described above, when a user searches

for events or venues in the Google app, the Google Search servers use the location of the user in

determining the results.     Additionally, the Google Search servers also infer the user’s

entertainment preferences by analyzing previous online activity, including the media accessed by

the user.




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Source: https://myactivity.google.com




Source: https://support.google.com/websearch/answer/9083858




Source: https://developers.google.com/search/blog/2020/02/events-on-search



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       137.    The at least one entertainment preference is inferred by the server based at least in

part on an analysis, by the server, of the plurality of media stored on or accessed using the portable

media player device or the information about said plurality of media. As discussed above, the

Google Search servers also infer the user’s entertainment preferences by analyzing previous

online activity, including the media accessed by the user. This includes considering the various

media the user accessed using Google and YouTube products and services, including text, image,

audio, and video media.




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Source: https://myactivity.google.com
         138.   Inducement: Defendants have indirectly infringed and continue to indirectly

infringe the ’960 patent by inducing direct infringement of the ’960 patent by their clients,

customers, and users who directly infringe in the manner described above. Defendants were made

aware of the ’960 patent and their infringement of the ’960 patent at least as early as November

30, 2021 when Wildseed Mobile provided notice of infringement of the ’960 patent to Sundar

Pichai of Google and Susan Wojcicki of YouTube. From at least the time that Defendants

received notice, Defendants have been actively inducing their clients, customers, and users to

directly infringe at least claim 1 of the ’960 patent as described above.

         139.   Defendants have taken affirmative steps to induce infringement of the ’960 patent

by their clients, customers, and users by, for example, advertising and distributing the ’960 Patent

Accused Products and providing instruction materials, training, and services instructing clients,

customers, and users to act in a manner that infringes the ’960 patent. For example, Google sells

Google Pixel phones to consumers on its website. See https://store.google.com/category/phones.

Additionally, Google provides instruction to clients, customers, and users on how to use Google

to search for venues and events on its website in a manner that infringes the ’960 patent. See e.g.,

https://support.google.com/websearch/answer/9083858. Google makes the Google app available

for download onto portable media player devices through the Google Play Store and Apple App

Store.                                                                                          See


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https://play.google.com/store/apps/details?id=com.google.android.googlequicksearchbox,

https://apps.apple.com/us/app/google/id284815942. YouTube makes the YouTube app available

for download onto portable media player devices through the Google Play Store and Apple App

Store.                           See              https://play.google.com/store/search?q=youtube,

https://play.google.com/store/apps/details?id=com.google.android.youtube,

https://apps.apple.com/us/app/youtube-watch-listen-stream/id544007664.

         140.   Defendants have specifically intended, and still intend, that their clients, customers,

and users infringe the ’960 patent. Defendants have been, and still are, aware that the acts of their

clients, customers, and users – including clients, customers, and users located in this District –

described above constitute infringement of the ’960 patent. Defendants have known and intended

that their continued actions would actively induce the infringement of at least claim 1 of the ’960

patent by their clients, customers, and users. With knowledge of both the ’960 tent and its

infringement of the ’960 patent, Defendants acted with specific intent or willful blindness to

actively aid and abet their clients, customers, and users in infringing at least claim 1 of the ’960

patent. Defendants are thus liable for infringement of the ’960 patent under 35 U.S.C. § 271(b).

         141.   Contributory: Defendants contribute to infringement of the ’960 patent by

offering to commercially distribute and commercially distributing their Google Search services

and the Chrome Browser, Google app, and YouTube app to clients, customers, and users, which

in combination with a portable media player device, such as a smartphone or tablet, satisfy each

and every limitation of the claims, as described above. First, to the extent a device is not preloaded

with the Chrome browser, Google app, or YouTube app, Defendants provide them to clients,

customers, and users, who then install them on their devices, such as Apple iOS and Android

smartphones and tablets. The underlying direct infringement, as described above, occurs, for

example, when an end-user installs and runs at least a compatible version of the Chrome Browser,



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Google app, and/or YouTube app and accesses the Google Search service. Individually, and in

combination, the Google Search service and the Chrome Browser, Google app, and/or YouTube

app constitute a material portion of the invention, as is apparent from the infringement allegations

described above, which detail infringement by the Chrome browser, Google app, and YouTube

app. Since at least the date Defendants received notice of the ’960 patent and their infringement

of the ’960 patent, Defendants have known that the Google Search services and the Chrome

Browser, Google app, and YouTube app are especially made and adapted for use in infringing

the ’960 patent. The Google Search service and the Chrome Browser, Google app, and YouTube

app are not a staple articles or commodities of commerce and have no substantial non-infringing

uses. The only purpose of the accused functionality of the accused Chrome Browser, Google app,

and YouTube app is to provide Google with location information and receive event and venue

recommendations as described above. The accused functionality of the Chrome Browser, Google

app, and YouTube app are specially designed and adapted to provide Google with location

information and receive event and venue recommendations. The Chrome Browser, Google app,

and YouTube app have no substantial non-infringing use of the accused functionality without

providing location information and receiving event and venue recommendations. Furthermore,

the Chrome Browser, Google app, and YouTube app are only operable when installed on a

portable media player device. As explained above, the Google Search service and the Chrome

Browser, Google app, and YouTube app are designed and configured to infringe at least claim 1

of the ’960 patent.

       142.    Second, to the extent Defendants’ devices are manufactured by third-party vendors,

Defendants contribute to infringement of the ’960 patent by providing material parts of the

invention, including the Chrome Browser, Google app, and/or YouTube app loaded onto the

portable media player devices. The Chrome browser, Google app, and YouTube app are a



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material part of the invention, as is apparent from the infringement allegations described above,

which detail infringement by the Chrome browser, Google app, and YouTube app.                The

underlying direct infringement, as described above, occurs when a third-party vendor makes, uses

(e.g., tests), offers for sale, sells and/or imports into the United States portable media player

devices that use the Chrome Browser or Google app, with the YouTube app installed, to access

Google Search services. Since at least the date Defendants received notice of the ’960 patent and

their infringement of the ’960 patent, Defendants have known that the Google Search services and

the Chrome Browser, Google app, and YouTube app are especially made and adapted for use in

infringing the ’960 patent. Defendants know the Chrome Browser, Google app, and YouTube

app to be especially made or especially adapted for use in infringement of the ’960 patent, and

not to be a staple article, nor commodity of commerce suitable for substantial noninfringing use.

The only purpose of the accused functionality of the accused Chrome Browser, Google app, and

YouTube app is to provide Google with location information and receive event and venue

recommendations as described above. The accused functionality of the Chrome Browser, Google

app, and YouTube app are specially designed and adapted to provide Google with location

information and receive event and venue recommendations. The Chrome Browser, Google app,

and YouTube app have no substantial non-infringing use of the accused functionality without

providing location information and receiving event and venue recommendations. Furthermore,

the Chrome Browser, Google app, and YouTube app are only operable when installed on a

portable media player device. As explained above, the Chrome Browser, Google app, and

YouTube app are designed and configured to infringe at least claim 1 of the ’960 patent. In both

cases, Defendants are liable for infringement of the ’960 patent under 35 U.S.C. § 271(c).

       143.    Willfulness: Defendants’ continuing infringement of the ’960 patent has been

willful and intentional. Since at least November 30, 2021, when the Defendants received a letter



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from Wildseed Mobile informing them of the ’960 patent and of their infringement of the ’960

patent, Defendants have been continuing to willfully infringe the ’960 patent by refusing to take

a license and continuing to make, use, test, sell, license, and/or offer for sale/license the ’960

Patent Accused Products. Defendants have been aware that they infringe the ’960 patent since at

least November 30, 2021; and instead of taking a license, Defendants have opted to make the

business decision to “efficiently infringe” the ’960 patent. Defendants never responded to

Wildseed Mobile’s November 30, 2021 letter. Since receiving the November 30, 2021 letter,

Defendants have not made an offer to license Wildseed Mobile’s patents or engaged in any

licensing discussions with Wildseed Mobile. Defendants have not designed around Wildseed

Mobile’s patents or abated their infringement in any way. Defendants thus knew, or should have

known, that its conduct amounted to infringement of the ’414 patent since at least November 30,

2021, when the Defendants received a letter from Wildseed Mobile informing them of the ’960

patent and of their infringement of the ’960 patent. Therefore, Defendants are liable for willful

infringement of the ’960 patent.

       144.     Defendants’ infringement has damaged and injured and continues to damage and

injure Wildseed Mobile.

              COUNT III – INFRINGEMENT OF U.S. PATENT NO. 10,251,021

       145.     Plaintiff incorporates by reference the allegations contained in the preceding

paragraphs of this Complaint as if fully set forth herein.

       146.     Defendants make, use, offer for sale, and/or sell in the United States and/or import

into the United States products and services that provide event and venue recommendations and

media player devices that receive event and venue recommendations. Google operates Google

Search servers that provide venue and event search results to users of portable media player

devices via the Google Search website and the Google app. Additionally, Google and YouTube



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operate servers that track users’ online activities so that Google can infer entertainment

preferences of a user. Google provides the Google Pixel smartphones, which are portable media

player devices. Additionally, YouTube provides the YouTube app, which executes on the Google

Pixel smartphones and accesses and plays media files (collectively, the “’021 Patent Accused

Products”).

       147.    The ’021 Patent Accused Products infringe at least claims 1 and 10 of the ’021

patent in the exemplary manner described below.

       148.    Claim 1: Defendants have directly infringed and continue to directly infringe,

literally and/or under the doctrine of equivalents, by operating Google Search and YouTube

servers that include each and every limitation of Claim 1.

       149.    Google Search and YouTube servers include one or more non-transitory computer-

readable media comprising instructions written thereon, wherein execution of the instructions by

one or more processors of a computer server cause the computer server to take certain actions.

For example, Google Search and YouTube servers include hard drives (non-transitory computer-

readable media) that store software code (instructions) that control the server.

       150.    Google Search and YouTube servers control receipt of media or information about

the media, the media being stored on a portable media player device or accessed using the portable

media player device. For example, when a user uses a mobile device to access text or image

media through the Google app or Google Search website, or to access video or audio media

through YouTube, Google and YouTube servers receive and store information about the media

being accessed using the mobile device.        Google’s My Activity website shows the user

information that Google tracks and that the ’021 Patent Accused Products use, including whether

the media accessed was textual (e.g., books and websites with textual content), image (e.g.,

pictures), audio (e.g., music and podcasts), or video (e.g., videos on YouTube) media.



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Source: https://myactivity.google.com.
       151.    Google Search servers infer one or more entertainment preferences of a user of the

portable media player device based at least in part on the retrieved media, the retrieved

information about the media, and a plurality of media content types of the media stored on or

accessed by the portable media player device wherein the plurality of media content types

comprises textual media, image media, audio media, and video media. As discussed above,

Google and YouTube servers track users’ online activities, including the types of media accessed

by users such as text, image, audio, and video media. Google Search servers use this information

about the users’ previous online activities to infer one or more entertainment preferences of the

user of the portable media player device.




Source: https://support.google.com/websearch/answer/9083858




Source: https://myactivity.google.com



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       152.    Google Search servers will access one or more sources of information about

venues or events that are proximal to the location of the portable media player device. For

example, the Google Search servers build a search index (source of information) that they access

when responding to user searches for venues or events.




Source: https://www.google.com/search/howsearchworks/crawling-indexing/




Source: https://developers.google.com/search/blog/2020/02/events-on-search


       153.    Additionally, the Google Search servers use the current location of the user when

determining which venues or events to display in the search results.




Source: https://support.google.com/websearch/answer/9083858




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       154.    Google Search servers will identify at least one of said venues or events as being

of interest to the user based at least in part on the one or more entertainment preferences inferred

by the server and the current location of the user. For example, when a user searches for “concerts”

using the Google App, the Google Search servers provide search results, including event and

venue information, based at least in part on the inferred entertainment preferences and current

location of the user (in this example, in San Francisco).




Source: Screenshot of Google mobile app
       155.    Google Search servers generate a recommendation indicating the identified venue

or event as a venue or event of interest to the user. For example, the Google Search servers will

generate search results based on the venues or events identified in response to the user’s search

request, as discussed above.




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       156.    The Google Search servers control communication of the recommendation to the

user. For example, the Google Search servers control transmission of the search results including

venues and events to the user. The results are displayed in the Google app.

       157.    Claim 10: Defendants have directly and/or indirectly infringed and continue to

directly and/or indirectly infringe, literally and/or under the doctrine of equivalents, by or through

making, using, offering for sale, selling within the United States and/or importing Google Pixel

smartphones that can access Google Search servers with a web browser and/or the Google app

and that can access YouTube with a web browser and/or the YouTube app.

       158.    Google Pixel smartphones include one or more non-transitory computer-readable

media (NTCRM) comprising instructions that, when executed by one or more processors of a

portable media player device, control the actions of the device. For example, the Google Pixel 6

has 4GB of RAM and a 64GB hard drive that software code (instructions) that control the device.




Source: https://support.google.com/pixelphone/answer/7158570?hl=en - zippy=,pixel-a
       159.    Google Pixel smartphones operate a media player application to access media from

a local storage of the portable media player device or a remote storage. For example, Google

Pixel 6 smartphones with the YouTube app access media, such as audio and video media, from

remote YouTube servers.




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Source: https://support.google.com/youtube/answer/6141269




Source: https://www.groovypost.com/howto/download-youtube-premium-videos-on-android-

or-ios/

          160.   Google Pixel smartphones establish a network connection with a server, the server

to provide location and preference based venue or event recommendations. For example, a Pixel


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6 smartphones establish a network connection with Google Search servers, via a web browser or

the Google app, which provide event and venue recommendations located near the user in

response to user searches.




Source: https://support.google.com/websearch/answer/9083858
       161.    Google Pixel smartphones control transmission, to the server, of location

information associated with the portable media player device to facilitate the server in inferring a

current location of a user of the portable media player device. For example, Google Pixel 6

smartphones send location information to Google Search servers, either through the web browser

or the Google app, to facilitate Google Search servers in inferring the location of the user.

       162.    Google Pixel smartphones control receipt, from the server, of a recommendation

indicating an event or venue of interest that is proximate to the inferred current location of the

user. For example, when a user searches for “concerts,” the Google App shows search results

received from Google’s servers, including event and venue information, near the location of the

Accused Product (in this example, in San Francisco).




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Source: Screenshot of Google app.
       163.    The recommendation is based on one or more inferred preferences of the user and

the location information. As discussed above, Google Search servers consider the location of the

user when determining search results for venues and events. Additionally, when searching for

venues and events, Google Search servers determine the user’s entertainment preferences by

analyzing the user’s previous online activity




Source: https://policies.google.com/privacy




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Source: https://support.google.com/websearch/answer/9083858




Source: https://myactivity.google.com
       164.    The inferred preferences are based at least in part on the accessed media, media

content types of the accessed media from among a plurality of media content types, and

information about the accessed media, wherein the plurality of media content types comprises

textual media, image media, audio media, and video media. For example, Google’s My Activity

website shows the user information that Google tracks and that Google Search servers use,

including whether the media accessed was textual (e.g., books and websites with textual content),

image (e.g., pictures), audio (e.g., music and podcasts), or video (e.g., videos on YouTube) media.




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Source: https://myactivity.google.com



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       165.    The event or venue of interest is selected from one or more sources of information

about a plurality of venues or events proximate to the current location of the user. For example,

Google Search servers will access one or more sources of information about venues or events

(e.g., Google’s Search Index) and select an event or venue near the user’s current location.




Source: https://www.google.com/search/howsearchworks/crawling-indexing/
       166.    Inducement: Defendants have indirectly infringed and continue to indirectly

infringe the ’021 patent by inducing direct infringement of the ’021 patent by their clients,

customers, and users who directly infringe in the manner described above. Defendants were made

aware of the ’021 patent and their infringement of the ’021 patent at least as early as November

30, 2021 when Wildseed Mobile provided notice of infringement of the ’021 patent to Sundar

Pichai of Google and Susan Wojcicki of YouTube. From at least the time that Defendants

received notice, Defendants have been actively inducing their clients, customers, and users to

directly infringe at least claim 10 of the ’021 patent as described above.

       167.    Defendants have taken affirmative steps to induce infringement of the ’021 patent

by their clients, customers, and users by, for example, advertising and distributing the ’021 Patent

Accused Products and providing instruction materials, training, and services instructing clients,

customers, and users to act in a manner that infringes the ’021 patent. For example, Google sells

Google Pixel phones to consumers on its website. See https://store.google.com/category/phones.

Additionally, Google provides instruction to clients, customers, and users on how to use Google

to search for venues and events on its website in a manner that infringes the ’021 patent. See e.g.,

https://support.google.com/websearch/answer/9083858. Google makes the Google app available




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for download onto portable media player devices through the Google Play Store and Apple App

Store.                                                                                            See

https://play.google.com/store/apps/details?id=com.google.android.googlequicksearchbox,

https://apps.apple.com/us/app/google/id284815942. YouTube makes the YouTube app available

for download onto portable media player devices through the Google Play Store and Apple App

Store.                           See              https://play.google.com/store/search?q=youtube,

https://play.google.com/store/apps/details?id=com.google.android.youtube,

https://apps.apple.com/us/app/youtube-watch-listen-stream/id544007664.

         168.   Defendants have specifically intended, and still intend, that their clients, customers,

and users infringe the ’021 patent. Defendants have been, and still are, aware that the acts of their

clients, customers, and users – including clients, customers, and users located in this District –

described above constitute infringement of the ’021 patent. Defendants have known and intended

that its continued actions would actively induce the infringement of at least claim 10 of the ’021

patent by their clients, customers, and users. With knowledge of both the ’021 patent and its

infringement of the ’021 patent, Defendants acted with specific intent or willful blindness to

actively aid and abet their clients, customers, and users in infringing at least claim 10 of the ’021

patent. Defendants are thus liable for infringement of the ’021 patent under 35 U.S.C. § 271(b).

         169.   Contributory: Defendants contribute to infringement of the ’021 patent by

offering to commercially distribute and commercially distributing their Google Search services

and the Chrome Browser, Google app, and YouTube app to clients, customers, and users, which

in combination with a portable media player device, such as a smartphone or tablet, satisfy each

and every limitation of the claims, as described above. First, to the extent a device is not preloaded

with the Chrome browser, Google app, or YouTube app, Defendants provide them to clients,

customers, and users, who then install them on their devices, such as Apple iOS and Android



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smartphones and tablets. The underlying direct infringement, as described above, occurs, for

example, when an end-user installs and runs at least a compatible version of the Chrome Browser,

Google app, and/or YouTube app. Individually and in combination, the Google Search service

and the Chrome Browser, Google app, and/or YouTube app constitute a material portion of the

invention, as is apparent from the infringement allegations described above, which detail

infringement by the Chrome browser, Google app, and YouTube app. Since at least the date

Defendants received notice of the ’021 patent and their infringement of the ’021 patent,

Defendants have known that the Google Search services and the Chrome Browser, Google app,

and YouTube app are especially made and adapted for use in infringing the ’021 patent. The

Google Search service and the Chrome Browser, Google app, and YouTube app are not a staple

articles or commodities of commerce and have no substantial non-infringing uses. The only

purpose of the accused functionality of the accused Chrome Browser, Google app, and YouTube

app is to provide Google with location information and receive event and venue recommendations

as described above. The accused functionality of the Chrome Browser, Google app, and YouTube

app are specially designed and adapted to provide Google with location information and receive

event and venue recommendations. The Chrome Browser, Google app, and YouTube app have

no substantial non-infringing use of the accused functionality without providing location

information and receiving event and venue recommendations. Furthermore, the Chrome Browser,

Google app, and YouTube app are only operable when installed on a portable media player device.

As explained above, the Google Search service and the Chrome Browser, Google app, and

YouTube app are designed and configured to infringe at least claim 10 of the ’021 patent.

       170.   Second, to the extent Defendants’ devices are manufactured by third-party vendors,

Defendants contribute to infringement of the ’021 patent by providing material parts of the

invention, including the Chrome Browser, Google app, and/or YouTube app loaded onto the



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portable media player devices. The Chrome browser, Google app, and YouTube app are a

material part of the invention, as is apparent from the infringement allegations described above,

which detail infringement by the Chrome browser, Google app, and YouTube app.                 The

underlying direct infringement, as described above, occurs when a third-party vendor makes, uses

(e.g., tests), offers for sale, sells and/or imports into the United States portable media player

devices that use the Chrome Browser or Google app, with the YouTube app installed, to access

Google Search services. Defendants know the Chrome Browser, Google app, and YouTube app

to be especially made or especially adapted for use in infringement of the ’021 patent, and not to

be a staple article, nor commodity of commerce suitable for substantial noninfringing use. The

only purpose of the accused functionality of the accused Chrome Browser, Google app, and

YouTube app is to provide Google with location information and receive event and venue

recommendations as described above. The accused functionality of the Chrome Browser, Google

app, and YouTube app are specially designed and adapted to provide Google with location

information and receive event and venue recommendations. The Chrome Browser, Google app,

and YouTube app have no substantial non-infringing use of the accused functionality without

providing location information and receiving event and venue recommendations. Furthermore,

the Chrome Browser, Google app, and YouTube app are only operable when installed on a

portable media player device. As explained above, the Chrome Browser, Google app, and

YouTube app are designed and configured to infringe at least claim 10 of the ’021 patent. In both

cases, Defendants are liable for infringement of the ’021 patent under 35 U.S.C. § 271(c).

       171.    Willfulness: Since at least November 30, 2021, when the Defendants received a

letter from Wildseed Mobile providing notice of the ’021 patent and of their infringement of

the ’021 patent, Defendants’ continuing infringement of the ’021 patent has been willful and

intentional. Since at least November 30, 2021, Defendants have been continuing to willfully



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infringe the ’021 patent by refusing to take a license and continuing to make, use, test, sell, license,

and/or offer for sale/license the ’021 Patent Accused Products. Defendants have been aware that

they infringe the ’021 patent since at least November 30, 2021; and instead of taking a license,

Defendants have opted to make the business decision to “efficiently infringe” the ’021 patent.

Defendants never responded to Wildseed Mobile’s November 30, 2021 letter. Since receiving

the November 30, 2021 letter, Defendants have not made an offer to license Wildseed Mobile’s

patents or engaged in any licensing discussions with Wildseed Mobile. Defendants have not

designed around Wildseed Mobile’s patents or abated their infringement in any way. Defendants

thus knew, or should have known, that its conduct amounted to infringement of the ’021 patent

since at least November 30, 2021, when the Defendants received a letter from Wildseed Mobile

informing them of the ’021 patent and of their infringement of the ’021 patent. Therefore,

Defendants are liable for willful infringement of the ’021 patent.

        172.    Defendants’ infringement has damaged and injured and continues to damage and

injure Wildseed Mobile.

                COUNT IV – INFRINGEMENT OF U.S. PATENT 10,959,040

        173.    Plaintiff incorporates by reference the allegations contained in the preceding

paragraphs of this Complaint as if fully set forth herein.

        174.    Defendants make, use, offer for sale, and/or sell in the United States and/or import

into the United States products and services that provide event and venue recommendations and

mobile devices that receive event and venue recommendations. Google operates Google Search

servers that provide venue and event search results to users of portable media player devices via

the Google Search website and the Google app. Additionally, Google operates servers that track

users’ online activities so that Google can infer entertainment preferences of a user. Google

provides the Google Pixel smartphones, which are mobile devices. Additionally, YouTube



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provides the YouTube app, which executes on the Google Pixel smartphones and accesses and

plays media files (collectively, the “’040 Patent Accused Products”).

       175.    The ’040 Patent Accused Products infringe at least claims 1 and 10 of the ’ 040

patent in the exemplary manner described below.

       176.    Claim 1: Google has directly infringed and continues to directly infringe, literally

and/or under the doctrine of equivalents, by operating Google Search servers that perform each

and every limitation of Claim 1.

       177.    Google Search servers are servers comprising processor circuitry arranged to infer

one or more entertainment preferences of a user of a mobile device based on retrieved information

about media accessed by the mobile device and a plurality of media content types of the media,

the plurality of media content types including textual media, image media, audio media, and video

media. For example, Google’s My Activity website shows the user information that Google tracks

and that Google Search servers use to infer entertainment preferences of a user of a mobile device,

including whether the media accessed was textual (e.g., books and websites with textual content),

image (e.g., pictures), audio (e.g., music and podcasts), or video (e.g., videos on YouTube) media.




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Source: https://myactivity.google.com




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       178.    Google Search servers access one or more sources of information about venues or

events proximal to a current location of the user or the mobile device. When a user searches for

venues or events, Google Search servers will access Google’s Search Index (a source of

information) to identify venues or events near the location of the user.




Source: https://developers.google.com/search/blog/2020/02/events-on-search




Source: https://www.google.com/search/howsearchworks/crawling-indexing/




Source: https://support.google.com/websearch/answer/9083858
       179.    Google Search servers identify at least one of the venues or events as being of

interest to the user based at least in part on the inferred one or more entertainment preferences

and the current locations. As discussed above, Google Search servers use the location of the user




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to identify the recommended venue or event. Additionally, Google Search servers use the inferred

entertainment preferences of the user to identify a venue or event as being of interest to the user.




       180.    Source: https://support.google.com/websearch/answer/9083858




Source: https://myactivity.google.com
       181.    Google Search servers generate a recommendation message indicating the

identified venue or event. This message is received by the mobile device and displayed in the

Google App or the web browser.




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Source: Screenshot of Google app.
       182.    Google Search servers include network interface circuitry communicatively

coupled to the processor circuitry, the network interface circuitry arranged to receive the

information about the media, and send the recommendation message to the mobile device. For

example, Google Search servers have network interface circuitry that is connected to the Internet

that receives searches for venues and events and transmit search results to the mobile device.




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Source: https://peering.google.com/#/infrastructure

       183.    Claim 10: Defendants have directly and/or indirectly infringed and continue to

directly and/or indirectly infringe, literally and/or under the doctrine of equivalents, by or through

making, using, offering for sale, selling within the United States and/or importing Google Pixel

smartphones with access to Google Search through a web browser and/or the Google App and the

YouTube app.

       184.    Google Pixel smartphones include user interface circuitry. For example, the

Google Pixel 6 is a mobile phone that includes a touchscreen user interface and related circuitry.

The screen is a 6.4 inch FHD+ (1080 x 2400) OLED display.




Source: https://store.google.com/us/product/pixel_6_specs

       185.    The Google Pixel 6’s touchscreen allows users to control the functions of the ’040

Patent Accused Products.




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Source: https://store.google.com/product/pixel_6 (video at 0:15)




Source: https://store.google.com/us/product/pixel_6_pro_specs?hl=en-US

       186.    The Google Pixel mobile devices include transceiver circuitry. For example, the

Google Pixel 6 includes cellular and Wi-Fi transceiver circuitry.




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Source: https://store.google.com/product/pixel_6_specs




Source: https://store.google.com/product/pixel_6_specs

       187.    The Google Pixel mobile devices include processor circuitry communicatively

coupled to the user interface circuitry and the transceiver circuitry. For example, the Google Pixel

6 includes a Google Tensor processor which is connected to the cellular and Wi-Fi

communications circuitry and the touchscreen interface via a circuit board.




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Source: https://store.google.com/product/pixel_6_specs

       188.   The Google Pixel mobile devices operate a media player application to access

media, and output the accessed media via the user interface circuitry. For example, the Google

Pixel 6 can access and display media, including text and image media through the Google App or

web browser and video and audio media through the YouTube app or web browser.




Source: Screenshot of video playing on the YouTube app.




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Source: Screenshot of the Google app.




Source: Screenshot of Chrome browser.




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       189.    The Google Pixel mobile devices establish a network connection with a server via

the transceiver circuitry. For example, the ’040 Patent Accused Products can connect to the

Google Search servers via the Internet.




Source: Home screen of Google app.

       190.    The ’040 Patent Accused Products connect to the Internet through cellular or Wi-

Fi network connections. For example, the Google Pixel 6 includes cellular and Wi-Fi network

transceiver circuitry.




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Source: https://store.google.com/product/pixel_6_specs




Source: https://store.google.com/product/pixel_6_specs

       191.    The Google Pixel mobile devices’ transceiver circuitry receives a recommendation

message from the server, the recommendation message indicating an event or venue of interest

that is proximate to an inferred current location of a user. For example, when a user searches for

“concerts” using the Google App, the Google Pixel transceiver circuitry receives search results




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from Google Search servers, including event and venue information, near the location of the user

(in this example, in San Francisco).




Source: Screenshot of Google app.




Source: https://support.google.com/websearch/answer/9083858




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       192.    The event or venue of interest is based on one or more inferred preferences of the

user and the inferred current location. For example, Google Search servers track users’ activities

on Google apps, sites, and services and use this information to infer the user’s preferences and

provide better recommendations. Additionally, Google Search servers use the location of the user

in identifying events or venues of interest near the user’s location.




Source: https://myactivity.google.com




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Source: https://support.google.com/websearch/answer/9083858

       193.    The inferred preferences are based at least in part on information about the

accessed media from among a plurality of media content types, the plurality of media content

types including textual media, image media, audio media, and video media. When searching for

events, Google’s servers determine the user’s entertainment preferences by analyzing the user’s

previous online activity. Google’s My Activity website shows the user information that Google

tracks and that Google Search servers use, including whether the media accessed was textual (e.g.,

books and websites with textual content), image (e.g., pictures), audio (e.g., music and podcasts),

or video (e.g., videos on YouTube) media.




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Source: https://myactivity.google.com
           194.   The event or venue of interest is selected from one or more sources of information

about a plurality of venues or events proximate to the inferred current location of the user. For

example, Google Search servers will access one or more sources of information about venues or

events (e.g., Google’s Search Index), as well as the user’s current location, to provide search

results.




Source: https://www.google.com/search/howsearchworks/crawling-indexing/




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Source: https://developers.google.com/search/blog/2020/02/events-on-search




Source: https://support.google.com/websearch/answer/9083858

       195.    Inducement: Defendants have indirectly infringed and continue to indirectly

infringe the ’040 patent by inducing direct infringement of the ’040 patent by their clients,

customers, and users who directly infringe in the manner described above. Defendants were made

aware of the ’040 patent and their infringement of the ’040 patent at least as early as November

30, 2021 when Wildseed Mobile provided notice of infringement of the ’040 patent to Sundar

Pichai of Google and Susan Wojcicki of YouTube. From at least the time that Defendants

received notice, Defendants have been actively inducing their clients, customers, and users to

directly infringe at least claim 10 of the ’040 patent as described above.

       196.    Defendants have taken affirmative steps to induce infringement of the ’040 patent

by their clients, customers, and users by, for example, advertising and distributing the ’040 Patent



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Accused Products and providing instruction materials, training, and services instructing clients,

customers, and users to act in a manner that infringes the ’040 patent. For example, Google sells

Google Pixel phones to consumers on its website. See https://store.google.com/category/phones.

Additionally, Google provides instruction to clients, customers, and users on how to use Google

to search for venues and events on its website in a manner that infringes the ’040 patent. See e.g.,

https://support.google.com/websearch/answer/9083858. Google makes the Google app available

for download onto portable media player devices through the Google Play Store and Apple App

Store.                                                                                            See

https://play.google.com/store/apps/details?id=com.google.android.googlequicksearchbox,

https://apps.apple.com/us/app/google/id284815942. YouTube makes the YouTube app available

for download onto mobile devices through the Google Play Store and Apple App Store. See

https://play.google.com/store/search?q=youtube,

https://play.google.com/store/apps/details?id=com.google.android.youtube,

https://apps.apple.com/us/app/youtube-watch-listen-stream/id544007664.

         197.   Defendants have specifically intended, and still intend, that their clients, customers,

and users infringe the ’040 patent. Defendants have been, and still are, aware that the acts of their

clients, customers, and users – including clients, customers, and users located in this District –

described above constitute infringement of the ’040 patent. Defendants have known and intended

that its continued actions would actively induce the infringement of at least claim 10 of the ’040

patent by their clients, customers, and users. With knowledge of both the ’040 patent and its

infringement of the ’040 patent, Defendants acted with specific intent or willful blindness to

actively aid and abet their clients, customers, and users in infringing at least claim 10 of the ’040

patent. Defendants are thus liable for infringement of the ’040 patent under 35 U.S.C. § 271(b).




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       198.    Contributory: Defendants contribute to infringement of the ’040 patent by

offering to commercially distribute and commercially distributing their Google Search service

and the Chrome Browser, Google app, and/or YouTube app to clients, customers, and users, which

in combination with a mobile device, such as a smartphone or tablet, satisfy each and every

limitation of the claims, as described above. First, to the extent a device is not preloaded with the

Chrome browser, Google app, and/or YouTube app, Defendants provide them to clients,

customers, and users, who then install them on their devices, such as Apple iOS and Android

smartphones and tablets. The underlying direct infringement, as described above, occurs, for

example, when an end-user installs and runs at least a compatible version of the Chrome Browser,

Google app, and/or YouTube app. Individually and in combination, the Google Search service

and the Chrome Browser, Google app, and/or YouTube app constitute a material portion of the

invention, as is apparent from the infringement allegations described above, which detail

infringement by the Chrome browser, Google app, and YouTube app. Since at least the date

Defendants received notice of the ’040 patent and their infringement of the ’040 patent,

Defendants have known that the Google Search services and the Chrome Browser, Google app,

and YouTube app are especially made and adapted for use in infringing the ’040 patent. The

Google Search service and the Chrome Browser, Google app, and YouTube app are not a staple

articles or commodities of commerce and have no substantial non-infringing uses. The only

purpose of the accused functionality of the accused Chrome Browser, Google app, and YouTube

app is to receive event and venue recommendations as described above. The accused functionality

of the Chrome Browser, Google app, and YouTube app are specially designed and adapted to

receive event and venue recommendations. The Chrome Browser, Google app, and YouTube app

have no substantial non-infringing use of the accused functionality without receiving event and

venue recommendations. Furthermore, the Chrome Browser, Google app, and YouTube app are



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only operable when installed on a mobile device. As explained above, the Chrome Browser,

Google app, and YouTube app are designed and configured to infringe at least claim 10 of the ’040

patent.

          199.   Second, to the extent Defendants’ devices are manufactured by third-party vendors,

Defendants contribute to infringement of the ’040 patent by providing material parts of the

invention, including the Chrome Browser, Google app, and/or YouTube app loaded onto the

mobile devices. The Chrome browser, Google app, and YouTube app are a material part of the

invention, as is apparent from the infringement allegations described above, which detail

infringement by the Chrome browser, Google app, and YouTube app. The underlying direct

infringement, as described above, occurs when a third-party vendor makes, uses (e.g., tests), offers

for sale, sells and/or imports into the United States portable media player devices that use the

Chrome Browser or Google app, with the YouTube app installed, to access Google Search

services.    Since at least the date Defendants received notice of the ’040 patent and their

infringement of the ’040 patent, Defendants have known that the Chrome Browser, Google app,

and YouTube app to be especially made or especially adapted for use in infringement of the ’040

patent, and not to be a staple article, nor commodity of commerce suitable for substantial

noninfringing use. The only purpose of the accused functionality of the accused Chrome Browser,

Google app, and YouTube app is to receive event and venue recommendations as described above.

The accused functionality of the Chrome Browser, Google app, and YouTube app are specially

designed and adapted to receive event and venue recommendations. The Chrome Browser,

Google app, and YouTube app have no substantial non-infringing use of the accused functionality

without receiving event and venue recommendations. Furthermore, the Chrome Browser, Google

app, and YouTube app are only operable when installed on a mobile device. As explained above,

the Chrome Browser, Google app, and YouTube app are designed and configured to infringe at



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least claim 10 of the ’040 patent. In both cases, Defendants are liable for infringement of the ’040

patent under 35 U.S.C. § 271(c).

        200.    Willfulness: Since at least November 30, 2021, when the Defendants received a

letter from Wildseed Mobile providing notice of the ’040 patent and of their infringement of

the ’040 patent, Defendants’ continuing infringement of the ’040 patent has been willful and

intentional. Since at least November 30, 2021, Defendants have been continuing to willfully

infringe the ’040 patent by refusing to take a license and continuing to make, use, test, sell, license,

and/or offer for sale/license the ’040 Patent Accused Products. Defendants have been aware that

they infringe the ’040 patent since at least November 30, 2021; and instead of taking a license,

Defendants have opted to make the business decision to “efficiently infringe” the ’040 patent.

Defendants never responded to Wildseed Mobile’s November 30, 2021 letter. Since receiving

the November 30, 2021 letter, Defendants have not made an offer to license Wildseed Mobile’s

patents or engaged in any licensing discussions with Wildseed Mobile. Defendants have not

designed around Wildseed Mobile’s patents or abated their infringement in any way. Defendants

thus knew, or should have known, that its conduct amounted to infringement of the ’040 patent

since at least November 30, 2021, when the Defendants received a letter from Wildseed Mobile

informing them of the ’040 patent and of their infringement of the ’040 patent. Therefore,

Defendants are liable for willful infringement of the ’040 patent.

        201.    Defendants’ infringement has damaged and injured and continues to damage and

injure Wildseed Mobile.

               COUNT V – INFRINGEMENT OF U.S. PATENT NO. 10,869,169

        202.    Plaintiff incorporates by reference the allegations contained in the preceding

paragraphs of this Complaint as if fully set forth herein.

                                            GOOGLE PHOTOS



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       203.    Google makes, uses, offers for sale, and/or sells in the United States and/or imports

into the United States products and services that provide send and receive hot link messages.

Google operates Google Photos servers that generate hot link messages. Additionally, Google,

through its online store and retailers, provides smartphones, including the Google Pixel line of

smartphones, to consumers, which can access Google Photos through the Google Photos app or

through a web browser, such as the Chrome browser, to receive hot link messages (collectively,

the “’169 Patent Google Photos Accused Products”).

       204.    The ’169 Patent Google Photos Accused Products infringe at least claims 10 and

18 of the ’169 patent in the exemplary manner described below.

       205.    Claim 10: Google has directly infringed and continues to directly infringe,

literally and/or under the doctrine of equivalents, by operating Google Photos servers that include

each and every limitation of Claim 10.

       206.    Google Photos servers are computer systems comprising network interface

circuitry to receive, from a first user device, a request to generate a hot link along with information

of a set of second user devices to receive the hot link. For example, when someone uploads a

picture to Google Photos to share it, Google servers, through their network interface circuitry,

receive a request to generate a notification message including a hot link and to send it to the

specified recipient. The below images illustrate how a request to generate a hot link is sent to the

Google Photos servers.




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Source: Screenshots of the Google Photos app.
        207.    Additionally, the user can specify an alphanumeric message to be transmitted with

the hot link.




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Source: Screenshot of Google Photos app.
       208.    Google Photos servers transmit a hot link message to the set of second user devices.

The hot link appears as a push notification on the recipient’s device and in the Google Photos app,

which displays the name of the sender and a thumbnail of the picture to be shared.




Source: Screenshot of push notification of Google Photos app.
       209.    Google Photos servers include processor circuitry communicatively coupled with

the network interface circuitry, the processor circuitry communicatively coupled with the network

interface circuitry. Google Photos servers are computers with processors and network interface

circuitry located in Google datacenters. See, e.g., www.google.com/about/datacenters/locations/.




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       210.    Google Photos servers, in response to detection of a trigger, determine an action

to be performed upon activation of the hot link, wherein activation of the hot link by individual

second user devices of the set of second user devices is to cause the individual second user devices

to execute program code to perform the action. For example, when a channel owner uploads a

picture to the Google Photos servers, the Google Photos servers identify this as a trigger to

determine the action to be performed upon activation of the hot link, namely, to execute program

code to access the video at the URL that is included in the hot link. When the recipient selects

the hot link message, program code executes and accesses the uploaded picture and alphanumeric

message in the Google Photos app, as shown in the image below.




Source: Screenshot of Google Photos app.




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       211.    The Google Photos servers respond to the trigger of the picture upload by

determining the action to be performed upon activation of the hot link and transmitting a hot link

message to the specified recipient.




Source: Screenshot of push notification of Google Photos app.
       212.    Google Photos servers generate the hot link message to include the determined

action and instructions for rendering and displaying the hot link at each of the set of user devices.

As discussed above, the hot link message includes the determined action, which is to access the

uploaded picture and alphanumeric message when the hot link is selected.




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Source: Screenshot of Google Photos app.
       213.    Claim 18: Google has directly and/or indirectly infringed and continues to directly

and/or indirectly infringe, literally and/or under the doctrine of equivalents, by or through making,

using, offering for sale, selling within the United States and/or importing Google Pixel

smartphones with web browsers, such as the Chrome browser, that can access the Google Photos

website and/or with the Google Photos app, that include each and every limitation of Claim 18.

       214.    Google Pixel smartphones include one or more non-transitory computer-readable

media (NTCRM) including program code. For example, the Pixel 5 smartphone contains one or

more processors and computer-readable memory that stores program code.




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Source: https://support.google.com/pixelphone/answer/7158570?hl=en#zippy=%2Cpixel
       215.    Google Pixel smartphones executing the Google Photos app control receipt of a

hot link message comprising a hot link and assignment information, the assignment information

to assign the hot link to a graphical control element (GCE), and the hot link comprising

instructions to perform an action and instructions for rendering and displaying the hot link. The

hot link message received by the device includes the hot link, which includes instructions to

perform an action, namely display the uploaded picture. Additionally, the hot link message

includes the sender’s name and thumbnail associated with the picture, which operate to assign the

hot link to graphical elements on the recipient’s device.




Source: Screenshot of push notification of Google Photos app
       216.    Google Pixel smartphones generate a graphical user interface (GUI) to include the

GCE to which the hot link is assigned according to the assignment information. For example, the

recipient’s smartphone displays the hot link message in accordance with the sending user’s name

and a thumbnail of the uploaded picture.




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       217.    Google Pixel smartphones, in response to activation of the GCE, execute the

instructions of the hot link to perform the action. When the recipient selects the hot link message,

the instructions of the hot link are executed, and the uploaded picture is displayed along with the

alphanumeric message.




Source: Screenshot of Google Photos app.
       218.    Inducement: Google has indirectly infringed and continues to indirectly infringe

the ’169 patent by inducing direct infringement of the ’169 patent by its clients, customers, and

users who directly infringe in the manner described above. Google was made aware of the ’169

patent and its infringement of the ’169 patent at least as early as November 30, 2021 when

Wildseed Mobile provided notice of infringement of the ’169 patent to Sundar Pichai of Google.




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From at least the time that Google received notice, Google has been actively inducing its clients,

customers, and users to directly infringe at least claim 18 of the ’169 patent as described above.

          219.   Google has taken affirmative steps to induce infringement of the ’169 patent by its

clients, customers, and users by, for example, advertising and distributing the ’169 Patent Google

Photos Accused Products and providing instruction materials, training, and services instructing

clients, customers, and users to act in a manner that infringes the ’169 patent. This includes

advertising and distributing the ’169 Patent Google Photos Accused Products and providing

instruction materials, training, and services regarding the ’169 Patent Google Photos Accused

Products that instructing clients, customers, and users to act in a manner that infringes the ’169

patent.                                                                                           See

https://support.google.com/photos/answer/6131416?co=GENIE.Platform%3DAndroid&oco=1.

          220.   Google has specifically intended, and still intends, that its clients, customers, and

users infringe the ’169 patent. Google has been, and still is, aware that the acts of its clients,

customers, and users – including clients, customers, and users located in this District – described

above constitute infringement of the ’169 patent. Defendants have known and intended that its

continued actions would actively induce the infringement of at least claim 18 of the ’169 patent

by its clients, customers, and users. With knowledge of both the ’169 patent and its infringement

of the ’169 patent, Defendants acted with specific intent or willful blindness to actively aid and

abet its clients, customers, and users in infringing at least claim 18 of the ’169 patent. Google is

thus liable for infringement of the ’169 patent under 35 U.S.C. § 271(b).

          221.   Contributory: Google contributes to infringement of the ’169 patent by offering

to commercially distribute and commercially distributing its Google Photos app to users, which

in combination with a user device, such as a smartphone or tablet, satisfy each and every limitation

of the claims, as described above. First, to the extent a device is not preloaded with the Google



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Photos app, Google provides the app to users, who then install it on their devices, such as Apple

iOS and Android smartphones and tablets. The underlying direct infringement, as described

above, occurs, for example, when an end-user installs and runs a compatible version of the Google

Photos app on their device. The Google Photos app constitutes a material portion of the invention,

as is apparent from the infringement allegations described above, which detail infringement by

the Google Photos app. Since at least the date Defendants received notice of the ’169 patent and

their infringement of the ’169 patent, Defendants have known that the Google Photos app is

especially made and adapted for use in infringing the ’169 patent. The Google Photos app

provides the user with access to Google Photos services. The Google Photos app is not a staple

article or commodity of commerce and has no substantial non-infringing uses. The only purpose

of the accused functionality of the accused Google Photos app is to receive hot link messages for

displaying shared pictures as described above. The Google Photos app is specially designed and

adapted to receive hot link messages for displaying shared pictures. The Google Photos app has

no substantial non-infringing use of the accused functionality without receiving hot link messages

for displaying shared pictures. The Google Photos app cannot be operated in a manner in which

it would not receive a hot link message when a picture is shared as described above. Furthermore,

Google Photos app is only operable when installed on a user device. As explained above, the

Google Photos app is designed and configured to infringe at least claim 18 of the ’169 patent.

       222.    Second, to the extent Google’s devices are manufactured by third-party vendors,

Google contributes to infringement of the ’169 patent by providing material parts of the invention,

including the Google Photos app loaded onto the mobile devices. The Google Photos app is a

material part of the invention, as is apparent from the infringement allegations described above,

which detail infringement by the Google Photos app. The underlying direct infringement, as

described above, occurs when a third-party vendor makes, uses (e.g., tests), offers for sale, sells



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and/or imports into the United States user devices that use the Google Photos app to utilize

Google’s Google Photos links and notifications. The Google Photos app provides the user with

access to Google Photos services. Since at least the date Defendants received notice of the ’169

patent and their infringement of the ’169 patent, Google knows the Google Photos app to be

especially made or especially adapted for use in infringement of the ’169 patent, and not a staple

article, nor commodity of commerce suitable for substantial non-infringing use. The only purpose

of the accused functionality of the accused Google Photos app is to receive hot link messages for

displaying shared pictures as described above. The Google Photos app is specially designed and

adapted to receive hot link messages for displaying shared pictures. The Google Photos app has

no substantial non-infringing use of the accused functionality without receiving hot link messages

for displaying shared pictures. The Google Photos app cannot be operated in a manner in which

it would not receive a hot link message when a picture is shared as described above. Furthermore,

Google Photos app is only operable when installed on a user device. As explained above, the

Google Photos app is designed and configured to infringe at least claim 18 of the ’169 patent In

both cases, Google is liable for infringement of the ’169 patent under 35 U.S.C. § 271(c).

       223.    Willfulness: Since at least November 30, 2021, when the Defendants received a

letter from Wildseed Mobile providing notice of the ’169 patent and of their infringement of

the ’169 patent, Google’s continuing infringement of the ’169 patent has been willful and

intentional. Since at least November 30, 2021, Google has been continuing to willfully infringe

the ’169 patent by refusing to take a license and continuing to make, use, test, sell, license, and/or

offer for sale/license the ’169 Patent Google Photos Accused Products. Google has been aware

that it infringes the ’169 patent since at least November 30, 2021; and instead of taking a license,

Google has opted to make the business decision to “efficiently infringe” the ’169 patent.

Defendants never responded to Wildseed Mobile’s November 30, 2021 letter. Since receiving



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the November 30, 2021 letter, Defendants have not made an offer to license Wildseed Mobile’s

patents or engaged in any licensing discussions with Wildseed Mobile. Defendants have not

designed around Wildseed Mobile’s patents or abated their infringement in any way. Defendants

thus knew, or should have known, that its conduct amounted to infringement of the ’169 patent

since at least November 30, 2021, when the Defendants received a letter from Wildseed Mobile

informing them of the ’169 patent and of their infringement of the ’169 patent. Therefore,

Defendants are liable for willful infringement of the ’169 patent.

       224.    Google’s infringement has damaged and injured and continues to damage and

injure Wildseed Mobile.

                                     YOUTUBE NOTIFICATIONS

       225.    Plaintiff incorporates by reference the allegations contained in the preceding

paragraphs of this Complaint as if fully set forth herein.

       226.    Defendants make, use, offer for sale, and/or sell in the United States and/or import

into the United States products and services that provide send and receive hot link messages.

YouTube operates YouTube servers that generate hot link messages. Additionally, Google,

through its online store and retailers, provides smartphones, including the Google Pixel line of

smartphones, to consumers, which can access YouTube through the YouTube app or through a

web browser, such as the Chrome browser, to receive hot link messages (collectively, the “’169

Patent YouTube Notifications Accused Products”).

       227.    The ’169 Patent YouTube Notifications Accused Products infringe at least claims

10 and 18 of the ’169 patent in the exemplary manner described below.

       228.    Claim 10: YouTube has directly infringed and continues to directly infringe,

literally and/or under the doctrine of equivalents, by operating YouTube servers that include each

and every limitation of Claim 10



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       229.    YouTube servers are computer systems comprising network interface circuitry to

receive, from a first user device, a request to generate a hot link along with information of a set

of second user devices to receive the hot link. For example, when a YouTube channel owner

uploads a video to YouTube, YouTube servers, through their network interface circuitry, receive

a request to generate a notification message including a hot link and to send it to each of the

channel owner’s subscribers.




Source:
https://support.google.com/youtube/answer/3382248?co=GENIE.Platform%3DAndroid&oco=1
#zippy=
       230.    Additionally, when a YouTube channel owner uploads a video, the channel owner

specifies whether all subscribers will receive the hot link message or whether only a subset of

subscribers, such as viewers over age 18, will receive the hot link message. This allows the

channel owner to specify a set of second user devices to receive the hot link.




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Source: Screenshot of the YouTube app.
       231.   YouTube servers transmit a hot link message to the set of second user devices.

The hot link appears as a push notification on the recipient’s device and in the “Notifications”

screen of the YouTube app.




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Source: Screenshot of push notification from YouTube app




Source: Screenshot of YouTube app.


       232.    YouTube servers include processor circuitry communicatively coupled with the

network interface circuitry; the processor circuitry communicatively coupled with the network

interface circuitry. YouTube servers are computers with processors and network interface

circuitry located in Google datacenters. See, e.g., www.google.com/about/datacenters/locations/.

       233.    YouTube servers, in response to detection of a trigger, determine an action to be

performed upon activation of the hot link, wherein activation of the hot link by individual second

user devices of the set of second user devices is to cause the individual second user devices to

execute program code to perform the action. For example, when a channel owner uploads a video,

to the YouTube servers, the YouTube servers identify this as a trigger to determine the action to

be performed upon activation of the hot link, namely, to execute program code to access the video

at the URL that is included in the hot link. When the recipient selects the hot link message,

program code executes and accesses the uploaded video in the YouTube app, as shown in the

image below.




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Source: Screenshot of YouTube app.
       234.    YouTube servers generate the hot link message to include the determined action

and instructions for rendering and displaying the hot link at each of the set of user devices. As

discussed above, the hot link message includes the determined action, which is to access the

uploaded video when the hot link is selected. Additionally, when uploading the video, the channel

owner can specify the title for the video and thumbnail that are rendered and appear in the hot link

message, as illustrated in the figures below.




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Source: Screenshots of the YouTube app.




Source: https://support.google.com/youtube/answer/72431

       235.    Claim 18: Defendants have directly and/or indirectly infringed and continue to

directly and/or indirectly infringe, literally and/or under the doctrine of equivalents, by or through

making, using, offering for sale, selling within the United States and/or importing Google Pixel

smartphones with web browsers, such as the Chrome browser, that can access the YouTube

website and/or with the YouTube app, that include each and every limitation of Claim 18.

       236.    Google Pixel smartphones include one or more non-transitory computer-readable

media (NTCRM) including program code. For example, the Pixel 5 smartphone contains one or

more processors and computer-readable memory and storage that stores program code.




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Source: https://support.google.com/pixelphone/answer/7158570?hl=en#zippy=%2Cpixel

       237.    Google Pixel smartphones executing the YouTube app control receipt of a hot link

message comprising a hot link and assignment information, the assignment information to assign

the hot link to a graphical control element (GCE), and the hot link comprising instructions to

perform an action and instructions for rendering and displaying the hot link. The hot link message

received by the device includes the hot link, which includes instructions to perform an action,

namely play the uploaded video. Additionally, the hot ink message includes the title and

thumbnail associated with the video, which operate as instructions on how the recipient’s device

should display the hot link.




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Source: Screenshots of the YouTube app.




Source: https://support.google.com/youtube/answer/72431
       238.   Google Pixel smartphones generate a graphical user interface (GUI) to include the

GCE to which the hot link is assigned according to the assignment information. For example, the

recipient’s smartphone displays the hot link message in accordance with the title and thumbnail

specified by the channel owner.




Source: Screenshot of push notification from YouTube app.



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Source: Screenshot of YouTube app.
       239.    Google Pixel smartphones, in response to activation of the GCE, execute the

instructions of the hot link to perform the action. When the recipient selects the hot link message,

the instructions of the hot link are executed, and the uploaded video is played.




Source: Screenshot of YouTube app.
       240.    Inducement: Defendants have indirectly infringed and continue to indirectly

infringe the ’169 patent by inducing direct infringement of the ’169 patent by their clients,

customers, and users who directly infringe in the manner described above. Defendants were made

aware of the ’169 patent and their infringement of the ’169 patent at least as early as November

30, 2021 when Wildseed Mobile provided notice of infringement of the ’169 patent to Sundar

Pichai of Google and Susan Wojcicki of YouTube. From at least the time that Defendants




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received notice, Defendants have been actively inducing their clients, customers, and users to

directly infringe at least claim 18 of the ’169 patent as described above.

         241.   Defendants have taken affirmative steps to induce infringement of the ’169 patent

by their clients, customers, and users by, for example, advertising and distributing the ’169 Patent

YouTube Notifications Accused Products and providing instruction materials, training, and

services instructing clients, customers, and users to act in a manner that infringes the ’169 patent.

This includes advertising and distributing the ’169 Patent YouTube Notifications Accused

Products and providing instruction materials, training, and services regarding the ’169 Patent

YouTube Notifications Accused Products instructing clients, customers, and users to act in a

manner          that      infringes       the       ’169        patent.              See,        e.g.,

https://support.google.com/youtube/answer/4489286,

https://support.google.com/youtube/answer/3382248.

         242.   Defendants have specifically intended, and still intends, that their clients,

customers, and users infringe the ’169 patent. Defendants have been, and still are, aware that the

acts of their clients, customers, and users – including clients, customers, and users located in this

District – described above constitute infringement of the ’169 patent. Defendants have known

and intended that their continued actions would actively induce the infringement of at least claim

18 of the ’169 patent by their clients, customers, and users. With knowledge of both the ’169

patent and its infringement of the ’169 patent, Defendants acted with specific intent or willful

blindness to actively aid and abet their clients, customers, and users in infringing at least claim 18

of the ’169 patent. Defendants are thus liable for infringement of the ’169 patent under 35 U.S.C.

§ 271(b).

       243.     Contributory: Defendants contribute to infringement of the ’169 patent by

offering to commercially distribute and commercially distributing the YouTube app to clients,



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customers, and users, which in combination with a mobile device, such as a smartphone or tablet,

satisfy each and every limitation of the claims, as described above. First, to the extent a device is

not preloaded with the YouTube app, Defendants provide the app to clients, customers, and users,

who then install it on their devices, such as Apple iOS and Android smartphones and tablets. The

underlying direct infringement, as described above, occurs, for example, when an end-user installs

and runs a compatible version of the YouTube app on their device. The YouTube app constitutes

a material portion of the invention, as is apparent from the infringement allegations described

above, which detail infringement by the YouTube app. Since at least the date Defendants received

notice of the ’169 patent and their infringement of the ’169 patent, Defendants have known that

the YouTube app is especially made and adapted for use in infringing the ’169 patent. The

YouTube app only provides the user with access to YouTube services. The YouTube app is not

a staple article or commodity of commerce and has no substantial non-infringing uses. The only

purpose of the accused functionality of the accused YouTube app is to receive hot link messages

for displaying shared videos as described above. The YouTube app is specially designed and

adapted to receive hot link messages for displaying shared videos. The YouTube app has no

substantial non-infringing use of the accused functionality without receiving hot link messages

for displaying shared videos. The YouTube app cannot be operated in a manner in which a

YouTube channel subscriber would not receive a hot link message when a YouTube channel

owner uploads a video as described above. Furthermore, YouTube app is only operable when

installed on a user device. As explained above, the YouTube app is designed and configured to

infringe at least claim 18 of the ’169 patent

       244.    Second, to the extent Defendants’ devices are manufactured by third-party vendors,

Defendants contribute to infringement of the ’169 patent by providing material parts of the

invention, including the YouTube app loaded onto the mobile devices. The YouTube app is a



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material part of the invention, as is apparent from the infringement allegations described above,

which detail infringement by the YouTube app. The underlying direct infringement, as described

above, occurs when a third-party vendor makes, uses (e.g., tests), offers for sale, sells and/or

imports into the United States mobile devices that use the YouTube app to utilize Defendants’

YouTube links and notifications. The YouTube app only provides the user with access to

YouTube services. Since at least the date Defendants received notice of the ’169 patent and their

infringement of the ’169 patent, Defendants have known that the YouTube app to be especially

made or especially adapted for use in infringement of the ’169 patent, and not a staple article, nor

commodity of commerce suitable for substantial non-infringing use. The only purpose of the

accused functionality of the accused YouTube app is to receive hot link messages for displaying

shared videos as described above. The YouTube app is specially designed and adapted to receive

hot link messages for displaying shared videos. The YouTube app has no substantial non-

infringing use of the accused functionality without receiving hot link messages for displaying

shared videos. The YouTube app cannot be operated in a manner in which a YouTube channel

subscriber would not receive a hot link message when a YouTube channel owner uploads a video

as described above. Furthermore, YouTube app is only operable when installed on a user device.

As explained above, the YouTube app is designed and configured to infringe at least claim 18 of

the ’169 patent. In both cases, Defendants are liable for infringement of the ’169 patent under 35

U.S.C. § 271(c).

        245.    Willfulness: Since at least November 30, 2021, when the Defendants received a

letter from Wildseed Mobile providing notice of the ’169 patent and of their infringement of

the ’169 patent, Defendants’ continuing infringement of the ’169 patent has been willful and

intentional. Since at least November 30, 2021, Defendants have been continuing to willfully

infringe the ’169 patent by refusing to take a license and continuing to make, use, test, sell, license,



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and/or offer for sale/license the ’169 patent YouTube Notifications Accused Products.

Defendants have been aware that they infringe the ’169 patent since at least November 30, 2021;

and instead of taking a license, Defendants have opted to make the business decision to

“efficiently infringe” the ’169 patent.     Defendants never responded to Wildseed Mobile’s

November 30, 2021 letter. Since receiving the November 30, 2021 letter, Defendants have not

made an offer to license Wildseed Mobile’s patents or engaged in any licensing discussions with

Wildseed Mobile. Defendants have not designed around Wildseed Mobile’s patents or abated

their infringement in any way. Defendants thus knew, or should have known, that its conduct

amounted to infringement of the ’169 patent since at least November 30, 2021, when the

Defendants received a letter from Wildseed Mobile informing them of the ’169 patent and of their

infringement of the ’169 patent. Therefore, Defendants are liable for willful infringement of

the ’169 patent.

       246.    Defendants’ infringement has damaged and injured and continues to damage and

injure Wildseed Mobile.

                                  GOOGLE WORKSPACE – MEET

       247.    Plaintiff incorporates by reference the allegations contained in the preceding

paragraphs of this Complaint as if fully set forth herein.

       248.    Google makes, uses, offers for sale, and/or sells in the United States and/or imports

into the United States products and services that send and receive hot link messages. Additionally,

Google, through its online store and retailers, provides smartphones, including the Google Pixel

line of smartphones, to consumers, which can access the Google Meet and Calendar apps, which

are part of Google Workspace, to receive hot link messages (collectively, the “’169 Patent Google

Workspace/Meet Accused Products”).




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       249.    The ’169 Patent Google Workspace/Meet Accused Products infringe at least

claims 10 and 18 of the ’169 patent in the exemplary manner described below.

       250.    Claim 10: Google has directly infringed and continues to directly infringe,

literally and/or under the doctrine of equivalents, by operating Google Meet servers that include

each and every limitation of Claim 10

       251.    Google Meet servers are computer systems comprising network interface circuitry

to receive, from a first user device, a request to generate a hot link along with information of a set

of second user devices to receive the hot link. For example, when a Google Meet user schedules

a meeting via Google Calendar, Google servers, through their network interface circuitry, receive

a request to generate a notification message including a hot link and to send it to each of the

meeting invitees.




Source: https://www.google.com/about/datacenters/faq/
       252.    Additionally, when a Google Meet user schedules a meeting, the user specifies the

invitees. This allows the user to specify a set of second user devices to receive the hot link.




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Source: Screenshots of the Google Meet and Calendar apps.
       253.   Google Meet and Calendar servers transmit a hot link message to the set of second

user devices. The hot link appears in the Google Meet app on the recipient’s device.




Source: Screenshot of Google Meet app.




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       254.    Google Meet and Calendar servers include processor circuitry communicatively

coupled with the network interface circuitry; the processor circuitry communicatively coupled

with the network interface circuitry. Google servers are computers with processors and network

interface      circuitry      located       in         Google      datacenters.      See,       e.g.,

www.google.com/about/datacenters/locations/.

       255.    Google Meet and Calendar servers, in response to detection of a trigger, determine

an action to be performed upon activation of the hot link, wherein activation of the hot link by

individual second user devices of the set of second user devices is to cause the individual second

user devices to execute program code to perform the action. For example, when a user schedules

a meeting, the Google Meet and Calendar servers identify this as a trigger to determine the action

to be performed upon activation of the hot link, namely, to execute program code to join the

meeting specified in the hot link. When the recipient selects the “join” button, program code

executes and joins the meeting in the Google Meet app, as shown in the image below.




Source: Screenshots of Google Meet app.
       256.    Google Meet servers generate the hot link message to include the determined

action and instructions for rendering and displaying the hot link at each of the set of user devices.



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As discussed above, the hot link message includes the determined action, which is to access the

meeting when the hot link is selected. The notification message displays a hot link at the recipient

users’ devices, labeled with a blue “Join” icon that, when pressed, causes the action of joining the

meeting to take place. Additionally, when scheduling the meeting, the user can specify the

meeting title, date, and time that are rendered and appear in the hot link message, as illustrated in

the figures below.




Source: Screenshots of the Google Meet and Calendar apps.
       257.    Claim 18: Google has directly and/or indirectly infringed and continues to directly

and/or indirectly infringe, literally and/or under the doctrine of equivalents, by or through making,

using, offering for sale, selling within the United States and/or importing Google Pixel

smartphones with the Google Meet and Calendar apps, that include each and every limitation of

Claim 18.




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       258.    Google Pixel smartphones include one or more non-transitory computer-readable

media (NTCRM) including program code. For example, the Pixel 5 smartphone contains one or

more processors and computer-readable memory.




Source: https://support.google.com/pixelphone/answer/7158570?hl=en#zippy=%2Cpixel

       259.    Google Pixel smartphones executing the Google Meet and Calendar apps control

receipt of a hot link message comprising a hot link and assignment information, the assignment

information to assign the hot link to a graphical control element (GCE), and the hot link

comprising instructions to perform an action and instructions for rendering and displaying the hot

link. The hot link message received by the device includes the hot link, which includes

instructions to perform an action, namely join the scheduled meeting. Additionally, the hot ink

message includes the title, date, and time of the meeting, which operate as instructions on how

the recipient’s device should display the hot link.




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Source: Screenshots of the Google Meet and Calendar apps.
       260.    Google Pixel smartphones generate a graphical user interface (GUI) to include the

GCE to which the hot link is assigned according to the assignment information. For example, the

recipient’s user device generates a graphical user interface including the display of a notification

message in the Meet app that includes a display of the title and time of the meeting, which are

graphical control elements that are rendered using instructions from the hot link message. When

the user selects the meeting, another screen comprising a graphical user interface (GUI) is loaded.

This includes the blue “Join” button to which the hot link is assigned. In addition, the meeting

name, date, and time are displayed with the notification message pursuant to the instructions for

rendering and displaying the hot link.




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Source: Screenshots of Google Meet app.
       261.    Google Pixel smartphones, in response to activation of the GCE, execute the

instructions of the hot link to perform the action. When the user of the mobile device activates

the “Join” GCE button, the hot link instructions are executed to perform the action of joining the

meeting.




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Source: Screenshot of Google Meet app.
       262.    Inducement: Google has indirectly infringed and continues to indirectly infringe

the ’169 patent by inducing direct infringement of the ’169 patent by its clients, customers, and

users who directly infringe in the manner described above. Google was made aware of the ’169

patent and its infringement of the ’169 patent at least as early as November 30, 2021 when

Wildseed Mobile provided notice of infringement of the ’169 patent to Sundar Pichai of Google

and Susan Wojcicki of YouTube. From at least the time that Google received notice, Google has

been actively inducing its clients, customers, and users to directly infringe at least claim 18 of

the ’169 patent as described above.

       263.    Google has taken affirmative steps to induce infringement of the ’169 patent by its

clients, customers, and users by, for example, advertising and distributing the ’169 Patent Google

Workspace/Meet Accused Products and providing instruction materials, training, and services

instructing clients, customers, and users to act in a manner that infringes the ’169 patent. This

includes advertising and distributing the ’169 Patent Google Workspace/Meet Accused Products


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and providing instruction materials, training, and services regarding the ’ ’169 Patent Google

Workspace/Meet Accused Products instructing clients, customers, and users to act in a manner

that infringes the ’169 patent. See, e.g., https://support.google.com/meet/answer/9303069.

       264.    Google has specifically intended, and still intends, that its clients, customers, and

users infringe the ’169 patent. Google has been, and still is, aware that the acts of its clients,

customers, and users – including clients, customers, and users located in this District – described

above constitute infringement of the ’169 patent. Google has known and intended that its

continued actions would actively induce the infringement of at least claim 18 of the ’169 patent

by its clients, customers, and users. With knowledge of both the ’169 patent and its infringement

of the ’169 patent, Google acted with specific intent or willful blindness to actively aid and abet

its clients, customers, and users in infringing at least claim 18 of the ’169 patent. Google is thus

liable for infringement of the ’169 patent under 35 U.S.C. § 271(b).

       265.    Contributory: Google contributes to infringement of the ’169 patent by offering

to commercially distribute and commercially distributing the Google Workspace, including the

Google Meet and Calendar apps to clients, customers, and users, which in combination with a

mobile device, such as a smartphone or tablet, satisfy each and every limitation of the claims, as

described above. First, to the extent a device is not preloaded with the Google Meet and Calendar

apps, Defendants provide the apps to clients, customers, and users, who then install them on their

devices, such as Apple iOS and Android smartphones and tablets. The underlying direct

infringement, as described above, occurs, for example, when an end-user installs and runs

compatible versions of the Google Meet and Calendar apps on their device. The Google Meet

and Calendar apps constitute a material portion of the invention, as is apparent from the

infringement allegations described above, which detail infringement by the Google Meet and

Calendar apps. Since at least the date Google received notice of the ’169 patent and its



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infringement of the ’169 patent, Google has known that the Google Meet and Calendar apps are

especially made and adapted for use in infringing the ’169 patent. The Google Meet and Calendar

apps provide the user with access to Google Meet services. The Google Meet and Calendar apps

are not a staple article or commodity of commerce and have no substantial non-infringing uses.

The only purpose of the accused functionality of the accused Google Meet and Calendar apps is

to receive hot link messages for joining meetings as described above. The Google Meet and

Calendar apps are specially designed and adapted to receive hot link messages for joining

meetings. The Google Meet and Calendar apps have no substantial non-infringing use of the

accused functionality without receiving hot link messages for joining meetings. The Google Meet

and Calendar apps cannot be operated in a manner in which a user would not receive a hot link

message when a Google Meet user schedules a meeting as described above. Furthermore, the

Google Meet and Calendar apps are only operable when installed on a user device. As explained

above, the Google Meet and Calendar apps are designed and configured to infringe at least claim

18 of the ’169 patent

       266.    Second, to the extent Google’s devices are manufactured by third-party vendors,

Googles contributes to infringement of the ’169 patent by providing material parts of the invention,

including the Google Meet and Calendar apps loaded onto the mobile devices. The Google Meet

and Calendar apps are a material part of the invention, as is apparent from the infringement

allegations described above, which detail infringement by the Google Meet and Calendar apps.

The underlying direct infringement, as described above, occurs when a third-party vendor makes,

uses (e.g., tests), offers for sale, sells and/or imports into the United States mobile devices that

use the Google Meet and Calendar apps to utilize Google’s Google Meet meetings and invitations.

The Google Meet and Calendar apps provide the user with access to Google Meet services. Since

at least the date Google received notice of the ’169 patent and its infringement of the ’169 patent,



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Google has known the Google Meet and Calendar apps to be especially made or especially

adapted for use in infringement of the ’169 patent, and not a staple article, nor commodity of

commerce suitable for substantial non-infringing use.         The only purpose of the accused

functionality of the accused Google Meet and Calendar apps is to receive hot link messages for

joining Google Meet meetings as described above. The Google Meet and Calendar apps are

specially designed and adapted to receive hot link messages for joining scheduled meetings. The

Google Meet and Calendar apps have no substantial non-infringing use of the accused

functionality without receiving hot link messages for joining scheduled meetings. The Google

Meet and Calendar apps cannot be operated in a manner in which a user would not receive a hot

link message when a Google Meet and Calendar user schedules a meeting as described above.

Furthermore, the Google Meet and Calendar apps are only operable when installed on a user

device. As explained above, the Google Meet and Calendar apps are designed and configured to

infringe at least claim 18 of the ’169 patent. In both cases, Google is liable for infringement of

the ’169 patent under 35 U.S.C. § 271(c).

       267.    Willfulness: Since at least November 30, 2021, when Google received a letter

from Wildseed Mobile providing notice of the ’169 patent and of its infringement of the ’169

patent, Google’s continuing infringement of the ’169 patent has been willful and intentional.

Since at least November 30, 2021, Google has been continuing to willfully infringe the ’169 patent

by refusing to take a license and continuing to make, use, test, sell, license, and/or offer for

sale/license the ’169 Patent Google Workspace/Meet Accused Products. Google has been aware

that it infringes the ’169 patent since at least November 30, 2021, and instead of taking a license,

Google has opted to make the business decision to “efficiently infringe” the ’169 patent. Google

never responded to Wildseed Mobile’s November 30, 2021 letter. Since receiving the November

30, 2021 letter, Google has not made an offer to license Wildseed Mobile’s patents or engaged in



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any licensing discussions with Wildseed Mobile. Google has not designed around Wildseed

Mobile’s patents or abated its infringement in any way. Google thus knew, or should have known,

that its conduct amounted to infringement of the ’169 patent since at least November 30, 2021,

when Google received a letter from Wildseed Mobile informing it of the ’169 patent and of its

infringement of the ’169 patent. Therefore, Google is liable for willful infringement of the ’169

patent.

          268.   Google’s infringement has damaged and injured and continues to damage and

injure Wildseed Mobile.

                                    GOOGLE WORKSPACE – DOCS

          269.   Plaintiff incorporates by reference the allegations contained in the preceding

paragraphs of this Complaint as if fully set forth herein.

          270.   Google makes, uses, offers for sale, and/or sells in the United States and/or imports

into the United States products and services that send and receive hot link messages. Additionally,

Google, through its online store and retailers, provides smartphones, including the Google Pixel

line of smartphones, to consumers, which can access the Google Docs app, which is part of Google

Workspace, to receive hot link messages (collectively, the “’169 Patent Google Workspace/Docs

Accused Products”).

          271.   The ’169 Patent Google Workspace/Docs Accused Products infringe at least

claims 10 and 18 of the ’169 patent in the exemplary manner described below.

          272.   Claim 10: Google has directly infringed and continues to directly infringe,

literally and/or under the doctrine of equivalents, by operating Google Docs servers that include

each and every limitation of Claim 10

          273.   Google Docs servers are computer systems comprising network interface circuitry

to receive, from a first user device, a request to generate a hot link along with information of a set



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of second user devices to receive the hot link. For example, when a Google Docs user shares a

document, Google Docs servers, through their network interface circuitry, receive a request to

generate a notification message including a hot link and to send it to a selected recipient.




Source: https://www.google.com/about/datacenters/faq/
        274.   When a Google Docs user shares a document, the user specifies who the document

will be shared with. This allows the user to specify a set of second user devices to receive the hot

link.




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Source: Screenshots of the Google Docs app.
       275.    Google Docs servers transmit a hot link message to the set of second user devices.

The hot link appears on the recipient’s device.




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Source: Screenshot of Google Docs app.
       276.    Google Docs servers include processor circuitry communicatively coupled with

the network interface circuitry; the processor circuitry communicatively coupled with the network

interface circuitry. Google Docs servers are computers with processors and network interface

circuitry located in Google datacenters. See, e.g., www.google.com/about/datacenters/locations/.

       277.    Google Docs servers, in response to detection of a trigger, determine an action to

be performed upon activation of the hot link, wherein activation of the hot link by individual

second user devices of the set of second user devices is to cause the individual second user devices

to execute program code to perform the action. For example, when a user shares a document, the

Google Docs servers identify this as a trigger to determine the action to be performed upon

activation of the hot link, namely, to execute program code to open the document specified in the

hot link. When the recipient selects the document, program code executes and opens the

document in the Google Docs app, as shown in the image below.



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Source: Screenshots of Google Docs app.
       278.      Google Docs servers generate the hot link message to include the determined

action and instructions for rendering and displaying the hot link at each of the set of user devices.

As discussed above, the hot link message includes the determined action, which is to open the

document when the hot link is selected. The notification message displays a hot link at the

recipient users’ devices, including a blue icon, that when pressed, causes the action of opening

the document to take place. Additionally, when creating the document, the user can specify the

name of the document that is rendered and appears in the hot link message, as illustrated in the

figures below.




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Source: Screenshots of the Google Docs app.
       279.    Claim 18: Google has directly and/or indirectly infringed and continues to directly

and/or indirectly infringe, literally and/or under the doctrine of equivalents, by or through making,

using, offering for sale, selling within the United States and/or importing Google Pixel

smartphones with the Google Docs app, that include each and every limitation of Claim 18.

       280.    Google Pixel smartphones include one or more non-transitory computer-readable

media (NTCRM) including program code. For example, the Pixel 5 smartphone contains one or

more processors and computer-readable memory.




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Source: https://support.google.com/pixelphone/answer/7158570?hl=en#zippy=%2Cpixel

        281.   Google Pixel smartphones executing the Google Docs app control receipt of a hot

link message comprising a hot link and assignment information, the assignment information to

assign the hot link to a graphical control element (GCE), and the hot link comprising instructions

to perform an action and instructions for rendering and displaying the hot link. The hot link

message received by the device includes the hot link, which includes instructions to perform an

action, namely open the shared document. Additionally, the hot link message includes the title of

the document, which operate as instructions on how the recipient’s device should display the hot

link.




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Source: Screenshots of the Google Docs app.
       282.    Google Pixel smartphones generate a graphical user interface (GUI) to include the

GCE to which the hot link is assigned according to the assignment information. For example, the

recipient’s smartphone displays the hot link message in accordance with the document name.

       283.    Google Pixel smartphones, in response to activation of the GCE, execute the

instructions of the hot link to perform the action. When the recipient selects the hot link message,

the instructions of the hot link are executed, and the document is opened.




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Source: Screenshot of Google Docs app.
       284.    Inducement: Google has indirectly infringed and continues to indirectly infringe

the ’169 patent by inducing direct infringement of the ’169 patent by its clients, customers, and

users who directly infringe in the manner described above. Google was made aware of the ’169

patent and its infringement of the ’169 patent at least as early as November 30, 2021 when

Wildseed Mobile provided notice of infringement of the ’169 patent to Sundar Pichai of Google

and Susan Wojcicki of YouTube. From at least the time that Google received notice, Google has

been actively inducing its clients, customers, and users to directly infringe at least claim 18 of

the ’169 patent as described above.

       285.    Google has taken affirmative steps to induce infringement of the ’169 patent by its

clients, customers, and users by, for example, advertising and distributing the ’169 Patent Google

Workspace/Docs Accused Products and providing instruction materials, training, and services

instructing clients, customers, and users to act in a manner that infringes the ’169 patent. This

includes advertising and distributing the ’169 Patent Google Workspace/Docs Accused Products




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and providing instruction materials, training, and services regarding the ’169 Patent Google

Workspace/Docs Accused Products instructing clients, customers, and users to act in a manner

that infringes the ’169 patent. See, e.g., https://support.google.com/docs/answer/2494822.

       286.    Google has specifically intended, and still intends, that its clients, customers, and

users infringe the ’169 patent. Google has been, and still is, aware that the acts of its clients,

customers, and users – including clients, customers, and users located in this District – described

above constitute infringement of the ’169 patent. Google has known and intended that its

continued actions would actively induce the infringement of at least claim 18 of the ’169 patent

by its clients, customers, and users. With knowledge of both the ’169 patent and its infringement

of the ’169 patent, Google acted with specific intent or willful blindness to actively aid and abet

its clients, customers, and users in infringing at least claim 18 of the ’169 patent. Google is thus

liable for infringement of the ’169 patent under 35 U.S.C. § 271(b).

       287.    Contributory: Google contributes to infringement of the ’169 patent by offering

to commercially distribute and commercially distributing Google Workspace, including the

Google Docs app to clients, customers, and users, which in combination with a mobile device,

such as a smartphone or tablet, satisfy each and every limitation of the claims, as described above.

First, to the extent a device is not preloaded with the Google Docs app, Google provides the app

to clients, customers, and users, who then install it on their devices, such as Apple iOS and

Android smartphones and tablets. The underlying direct infringement, as described above, occurs,

for example, when an end-user installs and runs compatible versions of the Google Docs app on

their device. The Google Docs app constitutes a material portion of the invention, as is apparent

from the infringement allegations described above, which detail infringement by the Google Docs

app. Since at least the date Google received notice of the ’169 patent and its infringement of

the ’169 patent, Google has known that the Google Docs app is especially made and adapted for



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use in infringing the ’169 patent. The Google Docs app provides the user with access to Google

Docs services. The Google Docs app is not a staple article or commodity of commerce and has

no substantial non-infringing uses. The only purpose of the accused functionality of the accused

Google Docs app is to receive hot link messages for opening shared documents as described above.

The Google Docs app is specially designed and adapted to receive hot link messages for sharing

documents.    The Google Docs app has no substantial non-infringing use of the accused

functionality without receiving hot link messages for opening shared documents. The Google

Docs app cannot be operated in a manner in which a user would not receive a hot link message

when a Google Docs user shares a document as described above. Furthermore, the Google Docs

app is only operable when installed on a user device. As explained above, the Google Docs app

is designed and configured to infringe at least claim 18 of the ’169 patent

       288.    Second, to the extent Google’s devices are manufactured by third-party vendors,

Googles contributes to infringement of the ’169 patent by providing material parts of the invention,

including the Google Docs app loaded onto the mobile devices. The Google Docs app is a

material part of the invention, as is apparent from the infringement allegations described above,

which detail infringement by the Google Docs app. The underlying direct infringement, as

described above, occurs when a third-party vendor makes, uses (e.g., tests), offers for sale, sells

and/or imports into the United States mobile devices that use the Google Docs app to utilize

Google’s Google Docs document sharing. The Google Docs app provides the user with access to

Google Docs services. Since at least the date Google received notice of the ’169 patent and its

infringement of the ’169 patent, Google has known the Google Docs app to be especially made

or especially adapted for use in infringement of the ’169 patent, and not a staple article, nor

commodity of commerce suitable for substantial non-infringing use. The only purpose of the

accused functionality of the accused Google Docs app is to receive hot link messages for opening



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shared Google Docs documents as described above. The Google Docs app is specially designed

and adapted to receive hot link messages for accessing shared documents. The Google Docs app

has no substantial non-infringing use of the accused functionality without receiving hot link

messages for opening shared documents. The Google Docs app cannot be operated in a manner

in which a user would not receive a hot link message when a Google Docs user shares a document

as described above. Furthermore, the Google Docs app is only operable when installed on a user

device. As explained above, the Google Docs app is designed and configured to infringe at least

claim 18 of the ’169 patent. In both cases, Google is liable for infringement of the ’169 patent

under 35 U.S.C. § 271(c).

       289.    Willfulness: Since at least November 30, 2021, when Google received a letter

from Wildseed Mobile providing notice of the ’169 patent and of its infringement of the ’169

patent, Google’s continuing infringement of the ’169 patent has been willful and intentional.

Since at least November 30, 2021, Google has been continuing to willfully infringe the ’169 patent

by refusing to take a license and continuing to make, use, test, sell, license, and/or offer for

sale/license the ’169 Patent Google Workspace/Docs Accused Products. Google has been aware

that it infringes the ’169 patent since at least November 30, 2021, and instead of taking a license,

Google has opted to make the business decision to “efficiently infringe” the ’169 patent. Google

never responded to Wildseed Mobile’s November 30, 2021 letter. Since receiving the November

30, 2021 letter, Google has not made an offer to license Wildseed Mobile’s patents or engaged in

any licensing discussions with Wildseed Mobile. Google has not designed around Wildseed

Mobile’s patents or abated its infringement in any way. Google thus knew, or should have known,

that its conduct amounted to infringement of the ’169 patent since at least November 30, 2021,

when Google received a letter from Wildseed Mobile informing it of the ’169 patent and of its




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infringement of the ’169 patent. Therefore, Google is liable for willful infringement of the ’169

patent.

          290.   Google’s infringement has damaged and injured and continues to damage and

injure Wildseed Mobile.

                                         PRAYER FOR RELIEF

          WHEREFORE, Plaintiff requests that the Court enter judgment for Plaintiff and against

Defendant as follows:

          291.   That U.S. Patent No. 7,376,414 be judged valid, enforceable, and infringed by

Defendant;

          292.   That U.S. Patent No. 9,141,960 be judged valid, enforceable, and infringed by

Defendant;

          293.   That U.S. Patent No. 10,251,021 be judged valid, enforceable, and infringed by

Defendant;

          294.   That U.S. Patent No. 10,959,040 be judged valid, enforceable, and infringed by

Defendant;

          295.   That U.S. Patent No. 10,869,169 be judged valid, enforceable, and infringed by

Defendant;

          296.   That Plaintiff be awarded judgment against Defendant for damages together with

interests and costs fixed by the Court including an accounting of all infringements and/or damages

not presented at trial;

          297.   That the Court declare this an exceptional case and award Plaintiff its attorneys’

fees, as provided by 35 U.S.C. § 285 and that Plaintiff be awarded enhanced damages up to treble

damages for willful infringement as provided by 35 U.S.C. § 284; and




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       298.    That Plaintiff be awarded such other and further relief as this Court may deem just

and proper.

                                             JURY DEMAND

       Plaintiff respectfully requests a jury trial on all issues so triable.



 Dated: April 4, 2022                          /s/ Deron R. Dacus
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                                   CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing Complaint was filed electronically in

compliance with Local Rule CV-5(a). Therefore, this document was served on all counsel who

are deemed to have consented to electronic service on this 4th day of April 2022.

                                                     /s/ Deron R. Dacus
                                                     Deron R. Dacus




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